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                                                                         FILED
                             FOR PUBLICATION
                                                                           JUL 25 2019
                   UNITED STATES COURT OF APPEALS                     MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS


                           FOR THE NINTH CIRCUIT


EAST BAY SANCTUARY COVENANT;                   No.   18-17274
AL OTRO LADO; INNOVATION LAW
LAB; CENTRAL AMERICAN                          D.C. No. 3:18-cv-06810-JST
RESOURCE CENTER,                               Northern District of California,
                                               San Francisco
             Plaintiffs-Appellees,

 v.                                            ORDER

DONALD J. TRUMP, President of the
United States; MATTHEW G.
WHITAKER, Acting Attorney General;
JAMES MCHENRY, Director, Executive
Office for Immigration Review (EOIR);
KIRSTJEN NIELSEN, Secretary, U.S.
Department of Homeland Security; LEE
FRANCIS CISSNA, Director, U.S.
Citizenship and Immigration Services;
KEVIN K. MCALEENAN,
Commissioner, U.S. Customs and Border
Protection; RONALD VITIELLO, Acting
Director, U.S. Immigration and Customs
Enforcement,

             Defendants-Appellants.


Before: LEAVY, BYBEE, and HURWITZ, Circuit Judges.

      The motions panel’s order dated December 7, 2018, and published at 909

F.3d 1219, is withdrawn from the Federal Reporter, as it erroneously omitted
        Case 3:18-cv-06810-JST Document 120 Filed 07/26/19 Page 2 of 2



Judge Leavy’s dissent. The superseding order, which includes the dissent and

contains no other changes, shall be filed concurrently herewith.




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                         FOR PUBLICATION

           UNITED STATES COURT OF APPEALS
                FOR THE NINTH CIRCUIT


         EAST BAY SANCTUARY                   No. 18-17274
         COVENANT; AL OTRO LADO;
         INNOVATION LAW LAB;                     D.C. No.
         CENTRAL AMERICAN RESOURCE          3:18-cv-06810-JST
         CENTER,
                    Plaintiffs-Appellees,
                                                ORDER
                        v.

         DONALD J. TRUMP, President of
         the United States; MATTHEW G.
         WHITAKER, Acting Attorney
         General; JAMES MCHENRY,
         Director, Executive Office for
         Immigration Review (EOIR);
         KIRSTJEN NIELSEN, Secretary,
         U.S. Department of Homeland
         Security; LEE FRANCIS CISSNA,
         Director, U.S. Citizenship and
         Immigration Services; KEVIN K.
         MCALEENAN, Commissioner,
         U.S. Customs and Border
         Protection; RONALD VITIELLO,
         Acting Director, U.S.
         Immigration and Customs
         Enforcement,
                   Defendants-Appellants.
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                             Filed December 7, 2018

                    Before: Edward Leavy, Jay S. Bybee,
                   and Andrew D. Hurwitz, Circuit Judges.

                             Order by Judge Bybee;
                         Partial Dissent by Judge Leavy


                                   SUMMARY*


                Immigration / Temporary Restraining Order /
                          Preliminary Injunction

            The panel denied the Government’s emergency motion
        for a stay pending appeal in an action challenging a regulation
        and presidential proclamation that, together, provide that an
        alien who enters the United States across the border with
        Mexico may not be granted asylum unless he or she enters at
        a port of entry and properly presents for inspection.

            On November 9, 2018, the Department of Justice (“DOJ”)
        and Department of Homeland Security (“DHS”) published a
        joint interim final rule, titled “Aliens Subject to a Bar on
        Entry Under Certain Presidential Proclamations; Procedures
        for Protection Claims” (“Rule”). 83 Fed. Reg. 55,934. The
        Rule provides that “[f]or applications filed after November 9,
        2018, an alien shall be ineligible for asylum if the alien is
        subject to a presidential proclamation or other presidential
        order suspending or limiting the entry of aliens along the

            *
             This summary constitutes no part of the opinion of the court. It has
        been prepared by court staff for the convenience of the reader.
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        southern border with Mexico that is issued pursuant to
        [8 U.S.C. § 1182(f)].”

            On the same day, President Trump issued a presidential
        proclamation, titled “Addressing Mass Migration Through the
        Southern Border of the United States” (“Proclamation”).
        83 Fed. Reg. 57,661. Expressly invoking 8 U.S.C. § 1182(f),
        the Proclamation suspends “entry of any alien into the United
        States across the international boundary between the United
        States and Mexico,” but excludes from the suspension “any
        alien who enters the United States at a port of entry and
        properly presents for inspection.”

            The plaintiffs are various organizations representing
        applicants and potential applicants for asylum who challenge
        the procedural and substantive validity of the Rule
        (“Organizations”). The district court issued a temporary
        restraining order enjoining the Rule, and the Government
        filed a notice of appeal, seeking a stay from this court of the
        district court’s temporary restraining order pending appeal.

            The panel concluded that the temporary restraining order
        here could be treated as an appealable preliminary injunction
        because the Government had an opportunity to be heard and
        strongly challenged the order, the order was scheduled to
        remain in effect for 30 days, and the Government argued in
        this court that emergency relief was necessary to support the
        national interests.

            With respect to standing, the panel concluded that the
        Organizations lacked third-party standing because they had
        not identified any cognizable right they were asserting on
        behalf of their clients. However, the panel concluded that the
        Organizations had organizational standing because they have
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        suffered and will continue to suffer direct injuries traceable
        to the Rule, including diversion of their resources and loss of
        substantial amounts of funding.

             Next, the panel concluded that the Organizations’ claims
        fall within the zone of interests protected or regulated by the
        Immigration & Nationality Act (“INA”). Outlining the
        relevant precedent, the panel concluded that it was sufficient
        that the Organizations’ asserted interests are consistent with
        and more than marginally related to the purposes of the INA.

            The panel then turned to the Government’s request that it
        stay the temporary restraining order pending its appeal. In
        doing so, the panel concluded that it lacked authority under
        § 706 of the APA to review the Proclamation because the
        President’s actions are not subject to APA requirements.
        However, the panel concluded that it could review the
        substantive validity of the Rule together with the
        Proclamation, explaining that the Rule and the Proclamation
        together create an operative rule of decision for asylum
        eligibility. The panel further explained that it is the
        substantive rule of decision, not the Rule itself, that the
        Organizations have challenged under the APA, and insofar as
        DOJ and DHS have incorporated the Proclamation by
        reference into the Rule, the panel may consider the validity of
        the agency’s proposed action.

            Examining the validity of the rule, the panel concluded
        that the Rule is not likely to be found in accordance with
        8 U.S.C. § 1158(a)(1). That section provides that “[a]ny alien
        who is physically present in the United States or who arrives
        in the United States (whether or not at a designated port of
        arrival . . .), irrespective of such alien’s status, may apply for
        asylum in accordance with this section.” The panel noted
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        that, rather than restricting who may apply for asylum, the
        rule of decision facially conditions only who is eligible to
        receive asylum. The panel observed that 8 U.S.C.
        § 1158(b)(2)(C) grants the Attorney General the power to set
        “additional limitations and conditions” beyond those listed in
        § 1158(b)(2)(A) on when an alien will be “ineligible for
        asylum,” but only when “consistent” with the section.
        Despite his facial invocation of § 1158(b)(2)(C), the panel
        concluded that the Attorney General’s rule of decision is
        inconsistent with § 1158(a)(1), explaining that it is the
        hollowest of rights that an alien must be allowed to apply for
        asylum regardless of whether she arrived through a port of
        entry if another rule makes her categorically ineligible for
        asylum based on precisely that fact.

            The panel further concluded that the Rule is likely
        arbitrary and capricious for a second reason: it conditions an
        alien’s eligibility for asylum on a criterion that has nothing to
        do with asylum itself, namely, whether or not the alien
        arrived lawfully through a port of entry.

            With respect to the Organizations’ claim that the
        Government failed to follow the required procedures in
        promulgating the Rule, the panel rejected the Government’s
        assertion that the Rule was exempt, under the under APA’s
        foreign affairs exception and the good cause exception, from
        the APA’s notice-and-comment procedures and the
        requirement that the final rule shall not go into effect for at
        least 30 days.

            Thus, the panel concluded, based on the evidence at this
        stage of the proceedings, the Government has not established
        that it is likely to prevail on the merits of its appeal of the
        district court’s temporary restraining order.
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            Next, the panel concluded that the Government had not
        shown it will be irreparably injured absent a stay. First, the
        panel rejected the Government’s assertion that the district
        court order undermines the separation of powers by blocking
        an action of the executive branch. Second, the panel rejected
        the Government’s assertion that the rule is needed to prevent
        aliens from making a dangerous and illegal border crossing
        rather than presenting at a port of entry.

            The panel concluded that, because the Government had
        not satisfied the first two factors, the panel need not dwell on
        the final two factors —“harm to the opposing party” and “the
        public interest.” However, the panel pointed out that a stay
        of the district court’s order would not preserve the status quo:
        it would upend it, as the temporary restraining order has
        temporarily restored the law to what it had been for many
        years prior to November 9, 2018.

            Finally, the panel concluded that the district court did not
        err in temporarily restraining enforcement of the Rule
        universally, noting that, in immigration matters, this court has
        consistently recognized the authority of district courts to
        enjoin unlawful policies on a universal basis.

           Dissenting in part, Judge Leavy concurred in the
        majority’s conclusion that this court may treat the district
        court’s order as an appealable preliminary injunction and
        concurred in the majority’s standing analysis.

            Judge Leavy dissented from the majority’s conclusion
        that the Rule was not exempt from the standard notice-and-
        comment procedures, writing that the Attorney General
        articulated a need to act immediately in the interests of safety
        of both law enforcement and aliens, and the Rule involves
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        actions of aliens at the southern border undermining
        particularized determinations of the President judged as
        required by the national interest, relations with Mexico, and
        the President’s foreign policy. Judge Leavy also dissented
        from the denial of the motion to stay, writing that the
        President, Attorney General, and Secretary of Homeland
        Security have adopted legal methods to cope with the current
        problems rampant at the southern border, and that the
        majority erred by treating the grant or denial of eligibility for
        asylum as equivalent to a bar to application for asylum, and
        conflating these two separate statutory directives.


                                 COUNSEL

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        Virginia; Vasudha Talla and Christine P. Sun, American Civil
        Liberties Union Foundation of Northern California Inc., San
        Francisco, California; for Plaintiffs-Appellees.


                                  ORDER

        BYBEE, Circuit Judge:

            For more than 60 years, our country has agreed, by treaty,
        to accept refugees. In 1980, Congress codified our obligation
        to receive persons who are “unable or unwilling to return to”
        their home countries “because of persecution or a well-
        founded fear of persecution on account of race, religion,
        nationality, membership in a particular social group, or
        political opinion.” 8 U.S.C. §§ 1101(a)(42), 1158(b)(1).
        Congress prescribed a mechanism for these refugees to apply
        for asylum and said that we would accept applications from
        any alien “physically present in the United States or who
        arrives in the United States whether or not at a designated
        port of arrival . . . irrespective of such alien’s status.” Id.
        § 1158(a)(1) (emphasis added) (internal punctuation marks
        omitted).

            We have experienced a staggering increase in asylum
        applications. Ten years ago we received about 5,000
        applications for asylum. In fiscal year 2018 we received
        about 97,000—nearly a twenty-fold increase. Aliens Subject
        to a Bar on Entry Under Certain Presidential Proclamations;
        Procedures for Protection Claims, 83 Fed. Reg. 55,934,
        55,935 (Nov. 9, 2018). Our obligation to process these
        applications in a timely manner, consistent with our statutes
        and regulations, is overburdened. The current backlog of
        asylum cases exceeds 200,000—about 26% of the
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        immigration courts’ total backlog of nearly 800,000 removal
        cases. Id. at 55,945. In the meantime, while applications are
        processed, thousands of applicants who had been detained by
        immigration authorities have been released into the United
        States.

            In an effort to contain this crisis, on November 9, 2018,
        the Attorney General and Secretary of Homeland Security
        proposed a new regulation that took immediate effect
        (“Rule”). Aliens Subject to a Bar on Entry Under Certain
        Presidential Proclamations; Procedures for Protection Claims,
        83 Fed. Reg. 55,934 (Nov. 9, 2018) (to be codified at
        8 C.F.R. §§ 208, 1003, 1208). Under the Immigration and
        Nationality Act (“INA”), the Attorney General may “by
        regulation establish additional limitations and conditions . . .
        under which an alien shall be ineligible for asylum.”
        8 U.S.C. § 1158(b)(2)(C). The regulation, however, must be
        “consistent with” existing law. Id. The new Rule proposes
        “additional limitations” on eligibility for asylum, but it does
        not spell out those limitations. Instead, it prescribes only that
        an alien entering “along the southern border with Mexico”
        may not be granted asylum if the alien is “subject to a
        presidential proclamation . . . suspending or limiting the entry
        of aliens” on this border. 83 Fed. Reg. at 55,952.

            The same day, the President issued a proclamation
        suspending the “entry of any alien into the United States
        across the international boundary between the United States
        and Mexico,” but exempting from that suspension “any alien
        who enters the United States at a port of entry and properly
        presents for inspection.” Addressing Mass Migration
        Through the Southern Border of the United States, 83 Fed.
        Reg. 57,661, 57,663 (Nov. 9, 2018) (“Proclamation”). The
        effect of the Rule together with the Proclamation is to make
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         asylum unavailable to any alien who seeks refuge in the
         United States if she entered the country from Mexico outside
         a lawful port of entry.

             The plaintiffs are various organizations representing
         applicants and potential applicants for asylum who challenge
         the procedural and substantive validity of the Rule. The
         district court issued a temporary restraining order, finding it
         likely that, first, the rule of decision itself was inconsistent
         with existing United States law providing that aliens may
         apply for asylum “whether or not [the aliens arrived] at a
         designated port of arrival,” 8 U.S.C. § 1158(a)(1), and
         second, the Attorney General failed to follow the procedures
         for enacting the Rule, see 5 U.S.C. § 553. The Government
         now seeks a stay of the district court’s temporary restraining
         order pending appeal. For the reasons we explain, we agree
         with the district court that the Rule is likely inconsistent with
         existing United States law. Accordingly, we DENY the
         Government’s motion for a stay.

                              I. BACKGROUND

             We first examine the constitutional authority of the
         legislative, executive, and judicial branches to address
         questions of immigration; the governing statutory framework;
         the Rule and Proclamation at issue; and the proceedings in
         this case.

         A. Constitutional Authority

              1. The Legislative Power

             Congress is vested with the principal power to control the
         nation’s borders. This power follows naturally from its
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         powers “[t]o establish an uniform rule of Naturalization,”
         U.S. CONST. art. I, § 8, cl. 4, to “regulate Commerce with
         foreign Nations,” id. art. I, § 8, cl. 3, and to “declare War,” id.
         art. I, § 8, cl. 11. See Am. Ins. Ass’n v. Garamendi, 539 U.S.
         396, 414 (2003); Harisiades v. Shaughnessy, 342 U.S. 580,
         588–89 (1952) (“[A]ny policy toward aliens is vitally and
         intricately interwoven with contemporaneous policies in
         regard to the conduct of foreign relations [and] the war power
         . . . .”). The Supreme Court has “repeatedly emphasized that
         ‘over no conceivable subject is the legislative power of
         Congress more complete than it is over’ the admission of
         aliens.” Fiallo v. Bell, 430 U.S. 787, 792 (1977) (quoting
         Oceanic Steam Navigation Co. v. Stranahan, 214 U.S. 320,
         339 (1909)).

             2. The Executive Power

              The Constitution also vests power in the President to
         regulate the entry of aliens into the United States. U.S.
         CONST. art. II. “The exclusion of aliens . . . is inherent in the
         executive power to control the foreign affairs of the nation.”
         United States ex rel. Knauff v. Shaughnessy, 338 U.S. 537,
         542 (1950). “[T]he historical gloss on the ‘executive Power’
         vested in Article II of the Constitution has recognized the
         President’s ‘vast share of responsibility for the conduct of our
         foreign relations.’” Garamendi, 539 U.S. at 414 (quoting
         Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579,
         610–11 (1952) (Frankfurter, J., concurring)). These foreign
         policy powers derive from the President’s role as
         “Commander in Chief,” U.S. CONST. art. II, § 2, cl. 1, his
         right to “receive Ambassadors and other public Ministers,” id.
         art. II, § 3, and his general duty to “take Care that the Laws
         be faithfully executed,” id. See Garamendi, 539 U.S. at 414.
         And while Congress has the power to regulate naturalization,
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         it shares its related power to admit or exclude aliens with the
         Executive. See Knauff, 338 U.S. at 542.

              3. The Judicial Power

             “The exclusion of aliens is ‘a fundamental act of
         sovereignty’ by the political branches,” Trump v. Hawaii,
         138 S. Ct. 2392, 2407 (2018) (quoting Knauff, 338 U.S. at
         542), “subject only to narrow judicial review,” Hampton v.
         Mow Sun Wong, 426 U.S. 88, 101 n.21 (1976). The courts
         have “long recognized” questions of immigration policy as
         “more appropriate to either the Legislature or the Executive
         than to the Judiciary.” Mathews v. Diaz, 426 U.S. 67, 81
         (1976). We review the immigration decisions of the political
         branches “only with the greatest caution” where our action
         may “inhibit [their] flexibility . . . to respond to changing
         world conditions.” Id.; see also Fiallo, 430 U.S. at 792 (“Our
         cases ‘have long recognized the power to expel or exclude
         aliens as a fundamental sovereign attribute exercised by the
         Government’s political departments largely immune from
         judicial control.’” (citation omitted)); Kleindienst v. Mandel,
         408 U.S. 753, 765 (1972) (“In accord with ancient principles
         of the international law of nation–states, . . . the power to
         exclude aliens is ‘inherent in sovereignty, necessary for
         maintaining normal international relations and defending the
         country against foreign encroachments and dangers—a power
         to be exercised exclusively by the political branches of
         government.’” (citations and internal alterations omitted)).

             Thus, “‘it is not the judicial role . . . to probe and test the
         justifications’ of immigration policies.” Hawaii, 138 S. Ct.
         at 2419 (quoting Fiallo, 430 U.S. at 799). We may
         nevertheless review the political branches’ actions to
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         determine whether they exceed the constitutional or statutory
         scope of their authority. See id.

         B. Statutory Authority

            1. Admissibility of Aliens

             The United States did not regulate immigration until
         1875. See Mandel, 408 U.S. at 761. Beginning in the late
         19th century, Congress created a regulatory framework and
         categorically excluded certain classes of aliens. See id. In
         1952, Congress replaced this disparate statutory scheme with
         the Immigration and Nationality Act (“INA”), which remains
         the governing statutory framework. Pub. L. No. 82-414, 66
         Stat. 163 (codified as amended at 8 U.S.C. § 1 et seq.). In
         1996, Congress enacted the Illegal Immigration Reform and
         Immigrant Responsibility Act of 1996 (“IIRIRA”), Pub. L.
         No. 104-208, 110 Stat. 3009.             IIRIRA established
         “admission” as the key concept in immigration law and
         defines the term as “the lawful entry of the alien into the
         United States after inspection and authorization by an
         immigration officer.” 8 U.S.C. § 1101(a)(13)(A); see
         Vartelas v. Holder, 566 U.S. 257, 262 (2012). It also
         provided that “[a]n alien present in the United States without
         being admitted or paroled, or who arrives in the United States
         at any time or place other than as designated by the Attorney
         General, is inadmissible.” 8 U.S.C. § 1182(a)(6)(A)(i). The
         INA provides both criminal and civil penalties for entering
         the United States “at any time or place other than as
         designated by immigration officers.” Id. § 1325(a).
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              2. Asylum

                a. Refugee Status

              Asylum is a concept distinct from admission, which
         permits the executive branch—in its discretion—to provide
         protection to aliens who meet the international definition of
         refugees. See id. § 1158. Our asylum law has its roots in the
         1951 Convention Relating to the Status of Refugees, July 28,
         1951, 189 U.N.T.S. 150 (“Convention”), and the 1967
         Protocol Relating to the Status of Refugees, Jan. 31, 1967,
         19 U.S.T. 6223, 606 U.N.T.S. 267 (“Protocol”). The United
         States was an original signatory to both treaties and promptly
         ratified both. The Convention defines a refugee as any
         person who:

                owing to well-founded fear of being
                persecuted for reasons of race, religion,
                nationality, membership of a particular social
                group or political opinion, is outside the
                country of his nationality and is unable or,
                owing to such fear, is unwilling to avail
                himself of the protection of that country; or
                who, not having a nationality and being
                outside the country of his former habitual
                residence as a result of such events, is unable
                or, owing to such fear, is unwilling to return
                to it.
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         Convention, art. I, § A(2), 189 U.N.T.S. at 152.1 The treaties
         charge their signatories with a number of responsibilities to
         refugees. See id. arts. II–XXXIV, 189 U.N.T.S. at 156–76.
         Notably, the signatories agreed not to

                  impose penalties, on account of their illegal
                  entry or presence, on refugees who, coming
                  directly from a territory where their life or
                  freedom was threatened in the sense of article
                  1, enter or are present in their territory without
                  authorization, provided they present
                  themselves without delay to the authorities
                  and show good cause for their illegal entry or
                  presence.

         Id. art. XXXI, § 1, 189 U.N.T.S. at 174. The Convention and
         Protocol are not self-executing, so their provisions do not
         carry the force of law in the United States. Khan v. Holder,
         584 F.3d 773, 783 (9th Cir. 2009); see also INS v. Stevic,
         467 U.S. 407, 428 n.22 (1984) (describing provisions of the
         Convention and Protocol as “precatory and not self-
         executing”).

             Congress enacted the Refugee Act of 1980, Pub. L. No.
         96-212, 94 Stat. 102, to bring the INA into conformity with
         the United States’s obligations under the Convention and
         Protocol. INS v. Cardoza–Fonseca, 480 U.S. 421, 436–37
         (1987). The Act defines a “refugee” as


              1
                The Protocol did not alter this definition except to extend its
         geographic and temporal reach. The Convention had limited refugee
         status to Europeans affected by the Second World war. See 19 U.S.T.
         6223 art. 1; Joan Fitzpatrick, The International Dimension of U.S. Refugee
         Law, 15 BERKELEY J. INT’L L. 1, 1 (1997).
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                  any person who is outside any country of such
                  person’s nationality or, in the case of a person
                  having no nationality, is outside any country
                  in which such person last habitually resided,
                  and who is unable or unwilling to return to,
                  and is unable or unwilling to avail himself or
                  herself of the protection of, that country
                  because of persecution or a well-founded fear
                  of persecution on account of race, religion,
                  nationality, membership in a particular social
                  group, or political opinion.

         8 U.S.C. § 1101(a)(42).2

                  b. Eligibility to Apply for Asylum

             An alien asserting refugee status in the United States must
         apply for asylum under the requirements of 8 U.S.C. § 1158.
         The Refugee Act of 1980 directed the Attorney General to
         accept asylum applications from any alien “physically present
         in the United States or at a land border or port of entry,
         irrespective of such alien’s status.” Id. § 1158(a) (1980).
         Congress amended this section in IIRIRA, 110 Stat. 3009-
         579, and it currently provides that “[a]ny alien who is
         physically present in the United States or who arrives in the
         United States (whether or not at a designated port of arrival
         and including an alien who is brought to the United States


              2
               The INA also permits the President to designate persons within the
         country of their nationality as refugees; excludes from refugee status
         persons who have participated in the persecution of others; and grants
         refugee status to persons who have been, or have a well-founded fear of
         being, subjected to an involuntary abortion or sterilization. 8 U.S.C.
         § 1101(a)(42).
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         after having been interdicted in international or United States
         waters), irrespective of such alien’s status, may apply for
         asylum.” Id. § 1158(a)(1) (2018).

              Section 1158(a) makes three classes of aliens
         categorically ineligible to apply for asylum: those who may
         be removed to a “safe third country” in which their “life or
         freedom would not be threatened” and where they would
         have access to equivalent asylum proceedings; those who fail
         to file an application within one year of arriving in the United
         States; and those who have previously applied for asylum and
         been denied. Id. § 1158(a)(2)(A)–(C). There are two
         “exceptions to the exceptions”: the one-year and previous-
         denial exclusions may be waived if an alien demonstrates
         “changed circumstances” or “extraordinary circumstances,”
         id. § 1158(a)(2)(D); and the “safe third country” and one-year
         exclusions do not apply to unaccompanied children, id.
         § 1158(a)(2)(E).

             The INA further directs the Attorney General to “establish
         a procedure for the consideration of asylum applications filed
         under subsection (a).” Id. § 1158(d)(1). The Attorney
         General’s discretion in establishing such procedures is limited
         by the specifications of § 1158(b) and (d). In the absence of
         exceptional circumstances, an applicant is entitled to an initial
         interview or hearing within 45 days of filing the application
         and to a final administrative adjudication of the application
         within 180 days. Id. § 1158(d)(5)(A)(ii)–(iii). The Attorney
         General “may provide by regulation for any other conditions
         or limitations on the consideration of an application for
         asylum not inconsistent with this chapter.”                   Id.
         § 1158(d)(5)(B).
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                 c. Eligibility to be Granted Asylum

             Where § 1158(a) governs who may apply for asylum, the
         remainder of § 1158 delineates the process by which
         applicants may be granted asylum. An asylum applicant
         must establish refugee status within the meaning of
         § 1101(a)(42) by demonstrating that “race, religion,
         nationality, membership in a particular social group, or
         political opinion was or will be at least one central reason”
         for persecution. Id. § 1158(b)(1)(B)(i). An applicant may
         sustain this burden through testimony alone, “but only if the
         applicant satisfies the trier of fact that the applicant’s
         testimony is credible, is persuasive, and refers to specific
         facts sufficient to demonstrate that the applicant is a refugee.”
         Id. § 1158(b)(1)(B)(ii). The trier of fact may also require the
         applicant to provide other evidence of record and weigh the
         testimony along with this evidence. Id. An applicant is not
         entitled to a presumption of credibility; the trier of fact makes
         a credibility determination “[c]onsidering the totality of the
         circumstances, and all relevant factors.”                     Id.
         § 1158(b)(1)(B)(iii).

             Six categories of aliens allowed to apply for asylum by
         § 1158(a) are excluded from being granted asylum by
         § 1158(b)(2):

                 Paragraph (1) shall not apply to an alien if the
                 Attorney General determines that—

                 (i) the alien ordered, incited, assisted, or
                 otherwise participated in the persecution of
                 any person on account of race, religion,
                 nationality, membership in a particular social
                 group, or political opinion;
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                (ii) the alien, having been convicted by a final
                judgment of a particularly serious crime,
                constitutes a danger to the community of the
                United States;

                (iii) there are serious reasons for believing
                that the alien has committed a serious
                nonpolitical crime outside the United States
                prior to the arrival of the alien in the United
                States;

                (iv) there are reasonable grounds for regarding
                the alien as a danger to the security of the
                United States;

                (v) the alien is described in subclause (I), (II),
                (III), (IV), or (VI) of section 1182(a)(3)(B)(i)
                of this title or section 1227(a)(4)(B) of this
                title (relating to terrorist activity), unless, in
                the case only of an alien described in
                subclause (IV) of section 1182(a)(3)(B)(i) of
                this title, the Attorney General determines, in
                the Attorney General’s discretion, that there
                are not reasonable grounds for regarding the
                alien as a danger to the security of the United
                States; or

                (vi) the alien was firmly resettled in another
                country prior to arriving in the United States.

         Id. § 1158(b)(2)(A). Additionally, “[t]he Attorney General
         may by regulation establish additional limitations and
         conditions, consistent with this section, under which an alien
         shall be ineligible for asylum under paragraph (1).” Id.
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         § 1158(b)(2)(C); see Nijjar v. Holder, 689 F.3d 1077, 1082
         (9th Cir. 2012) (suggesting that fraud in the application could
         be a valid additional ground on which the Attorney General
         may deem aliens categorically ineligible). However, as far as
         we can tell, prior to the promulgation of the Rule at issue in
         this case, the Attorney General had not exercised the
         authority to establish additional “limitations or conditions”
         beyond those Congress enumerated in § 1158(a)(2) and
         (b)(2). See 8 C.F.R. § 208.13(c) (effective July 18, 2013 to
         Nov. 8, 2018); id. § 1208.13(c) (effective July 18, 2013 to
         Nov. 8, 2018).

             If an applicant successfully establishes refugee status and
         is not excluded from relief by § 1158(b)(2), the Attorney
         General “may grant asylum,” but is not required to do so. See
         8 U.S.C. § 1158(b)(1)(A) (emphasis added). Asylum is a
         form of “discretionary relief.” Moncrieffe v. Holder,
         569 U.S. 184, 187 (2013); see INS. v. Aguirre–Aguirre,
         526 U.S. 415, 420 (1999). We review the Attorney General’s
         decision to deny asylum for whether it is “manifestly contrary
         to the law and an abuse of discretion,” 8 U.S.C.
         § 1252(b)(4)(D), but we do not have the authority to award
         asylum, see id. § 1252(e)(4)(B) (a court reviewing an asylum
         decision “may order no remedy or relief other than to require
         that the petitioner be provided a hearing” before an
         immigration judge).

             An alien granted asylum gains a number of benefits,
         including pathways to lawful permanent resident status and
         citizenship. See id. § 1159(b) (governing adjustment of status
         from asylee to lawful permanent resident); id. § 1427(a)
         (governing naturalization of lawful permanent residents).
         Additionally, an asylee may obtain derivative asylum for a
         spouse and any unmarried children, id. § 1158(b)(3); is
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         exempt from removal, id. § 1158(c)(1)(A); may work in the
         United States, id. § 1158(c)(1)(B); may travel abroad without
         prior consent of the government, id. § 1158(c)(1)(C); and
         may obtain federal financial assistance, id. § 1613(b)(1).

            3. The President’s Proclamation Power

             Section 212(f) of the INA (codified at 8 U.S.C. § 1182(f))
         grants the President the power to suspend entry and impose
         restrictions on aliens via proclamation:

                Whenever the President finds that the entry of
                any aliens or of any class of aliens into the
                United States would be detrimental to the
                interests of the United States, he may by
                proclamation, and for such period as he shall
                deem necessary, suspend the entry of all
                aliens or any class of aliens as immigrants or
                nonimmigrants, or impose on the entry of
                aliens any restrictions he may deem to be
                appropriate.

         Id. § 1182(f). This provision “vests the President with ‘ample
         power’ to impose entry restrictions in addition to those
         elsewhere enumerated in the INA.” Hawaii, 138 S. Ct. at
         2408 (quoting Sale v. Haitian Ctrs. Council, Inc., 509 U.S.
         155, 187 (1993)). The sole prerequisite to the President’s
         exercise of this power is a finding that the entry of aliens
         “would be detrimental to the interests of the United States.”
         Id. (quoting 8 U.S.C. § 1182(f)). However, the President may
         not “override particular provisions of the INA” through the
         power granted him in § 1182(f). Id. at 2411.
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         C. Challenged Provisions

              1. The Rule

             On November 9, 2018, the Department of Justice (“DOJ”)
         and Department of Homeland Security (“DHS”) published a
         joint interim final Rule, titled “Aliens Subject to a Bar on
         Entry Under Certain Presidential Proclamations; Procedures
         for Protection Claims.” 83 Fed. Reg. 55,934.

             In relevant part, the Rule provides that “[f]or applications
         filed after November 9, 2018, an alien shall be ineligible for
         asylum if the alien is subject to a presidential proclamation or
         other presidential order suspending or limiting the entry of
         aliens along the southern border with Mexico that is issued
         pursuant to [§ 1182(f)].” Id. at 55,952 (to be codified at
         8 C.F.R. § 208.13(c)(3) (DHS) and 8 C.F.R. § 1208.13(c)(3)
         (DOJ)). The Rule applies only to aliens who enter the United
         States “after the effective date of the proclamation or order
         contrary to the terms of the proclamation or order.” Id. It
         explicitly invokes the Attorney General’s power pursuant to
         § 1158(b)(2)(C) “to add a new mandatory bar on eligibility
         for asylum for certain aliens who are subject to a presidential
         proclamation suspending or imposing limitations on their
         entry . . . and who enter the United States in contravention of
         such a proclamation after the effective date of this rule.” Id.
         at 55,939.3


              3
                The Rule also amends the regulations governing credible fear
         determinations in expedited removal proceedings. 83 Fed. Reg. at 55,952.
         If an asylum officer finds that an alien entered the United States through
         Mexico and not at a port of entry, the Rule directs the officer to “enter a
         negative credible fear determination with respect to the alien’s application
         for asylum.” Id. (to be codified at 8 C.F.R. § 208.30).
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            DOJ and DHS enacted the Rule without complying with
         two Administrative Procedure Act (“APA”) requirements: the
         “notice and comment” process, 5 U.S.C. § 553(b), and the 30-
         day grace period before a rule may take effect, id. § 553(d).
         The departments invoked two exemptions to the notice-and-
         comment requirements: the “military or foreign affairs
         function” exemption, id. § 553(a)(1), and the “good cause”
         exemption, id. § 553(b)(B). They also invoked the “good
         cause” waiver to the grace period, id. § 553(d)(3). See
         83 Fed. Reg. at 55,949–51.

             2. The Proclamation

             On the same day that the joint interim final rule issued,
         President Trump issued the Proclamation, titled “Addressing
         Mass Migration Through the Southern Border of the United
         States.” 83 Fed. Reg. 57,661. Expressly invoking 8 U.S.C.
         § 1182(f), the Proclamation suspends “entry of any alien into
         the United States across the international boundary between
         the United States and Mexico,” 83 Fed. Reg. at 57,663, § 1,
         but excludes from the suspension “any alien who enters the
         United States at a port of entry and properly presents for
         inspection.” Id. at 57,663, § 2(b). The suspension is limited
         to 90 days, effective November 9, 2018. Id. at 57,663, § 1.

             In the preamble, the President cited a “substantial number
         of aliens primarily from Central America” who reportedly
         intend to enter the United States unlawfully and seek asylum
         as a principle motivating factor for the Proclamation. Id. at
         57,661. He described the Proclamation as tailored “to
         channel these aliens to ports of entry, so that, if they enter the
         United States, they do so in an orderly and controlled manner
         instead of unlawfully.” Id. at 57,662. Aliens who present at
         a port of entry with or without documentation may avail
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         themselves of the asylum system, but those who do not enter
         through a port of entry “will be ineligible to be granted
         asylum under [the Rule].” Id. at 57,663.

             In support of the Proclamation, the President cited
         concerns about violence, the integrity of the country’s
         borders, and the strain illegal immigration places on
         government resources. Id. at 57,661–62. He noted that there
         has been a “massive increase” in asylum applications over the
         past two decades, and because the “vast majority” of
         applicants are found to have a “credible fear,” many aliens
         are released into the United States pending final adjudication
         of their status and do not appear for subsequent hearings or
         comply with orders of removal.4 Id. at 57,661. These
         problems are complicated when family units arrive together
         because the government lacks sufficient detention facilities to
         house families. Id. at 57,662. Accordingly, the President
         found that “[t]he entry of large numbers of aliens into the
         United States unlawfully between ports of entry on the
         southern border is contrary to the national interest, and . . .
         [f]ailing to take immediate action . . . would only encourage
         additional mass unlawful migration and further overwhelming
         of the system.” Id.


              4
                In 2010, the executive branch began allowing many asylum
         applicants who were found to have a credible fear to be released into the
         United States pending their asylum hearing instead of remaining in
         detention. Will Weissert & Emily Schmall, “Credible Fear” for U.S.
         Asylum Harder to Prove Under Trump, CHI. TRIB. (July 16, 2018),
         https://www.chicagotribune.com/news/nationworld/ct-credible-fear-
         asylum-20180716-story.html. The number of credible fear referrals
         increased from 5,275 in 2009 to 91,786 in 2016. U.S. DEP’T OF
         HOMELAND SEC., TOTAL CREDIBLE FEAR CASES COMPLETED, FISCAL
         YEARS 2007–2016 (2017), https://www.dhs.gov/sites/default/files/publi
         cations/Credible_Fear_2016.xlsx.
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         D. Procedural History

             The day the Rule and Proclamation issued, plaintiffs East
         Bay Sanctuary Covenant, Al Otro Lado, Innovation Law Lab,
         and Central American Resource Center (collectively, the
         “Organizations”) sued several Government officials,
         including the President, the Acting Attorney General, and the
         Secretary of Homeland Security, in the United States District
         Court for the Northern District of California.           The
         Organizations claimed that the Rule: (1) was improperly
         promulgated under 5 U.S.C. § 553; and (2) is an invalid
         exercise of the Attorney General’s power under 8 U.S.C.
         § 1158(b)(2)(C) because it is inconsistent with 8 U.S.C.
         § 1158(a)(1). The Organizations moved immediately for a
         temporary restraining order (“TRO”).

             The Government filed an opposition brief arguing that the
         Organizations’ claims were not justiciable because they
         lacked both Article III standing and statutory standing. The
         Government also argued that the Rule was validly
         promulgated under the APA and does not conflict with
         § 1158. On November 19, 2018—ten days after the Rule and
         Proclamation were issued—the district court held a hearing
         on the motion for a TRO. The district court granted the TRO
         later that day. It held that the Organizations could validly
         assert Article III standing on two theories: organizational
         standing and third-party standing. The court also held that
         the Organizations’ claims fell within the INA’s zone of
         interests. On the merits, the district court found that the
         Organizations satisfied the four-factor test for a TRO: a
         likelihood of success on the merits, a likelihood of irreparable
         harm in the absence of relief, a favorable balance of the
         equities, and that a TRO was in the public interest. See Am.
         Trucking Ass’ns, Inc. v. City of L.A., 559 F.3d 1046, 1052
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         (9th Cir. 2009). The TRO took effect immediately and
         remains in effect until December 19, 2018. The district court
         scheduled a hearing on a preliminary injunction for that date
         and issued an order to show cause.

             On November 27, 2018, the Government filed a notice of
         appeal and an emergency motion in the district court to stay
         the TRO. The district court denied the motion to stay on
         November 30. On December 1, the Government filed a
         motion in this court under Ninth Circuit Rule 27-3 for an
         emergency administrative stay of the TRO and a stay of the
         TRO pending appeal. We denied the motion for the
         emergency administrative stay the same day.

                                 II. JURISDICTION

             We begin with two threshold issues raised by the parties.
         The Organizations argue that we lack jurisdiction over the
         Government’s stay request because the Government’s appeal
         of the TRO is premature. The Government argues that this
         case is not justiciable because the Organizations lack standing
         and because their claims fall outside of the INA’s zone of
         interests. We address each issue in turn.5

         A. Appealability of the TRO

             Ordinarily, a TRO is not an appealable order. See Abbott
         v. Perez, 138 S. Ct. 2305, 2319–20 (2018). However, where
         a TRO has the same effect as a preliminary injunction, it is
         appealable under 28 U.S.C. § 1292(a)(1). Id. (citing Sampson


              5
                Although we realize that the zone of interests inquiry is not
         jurisdictional, see Lexmark Int’l, Inc. v. Static Control Components, Inc.,
         572 U.S. 118, 126, 128 n.4 (2014), we address it here as a threshold issue.
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         v. Murray, 415 U.S. 61, 86–88 (1974)). We treat a TRO as a
         preliminary injunction “where an adversary hearing has been
         held, and the court’s basis for issuing the order [is] strongly
         challenged.” Bennett v. Medtronic, Inc., 285 F.3d 801, 804
         (9th Cir. 2002) (quoting Sampson, 415 U.S. at 87). Further,
         a key distinction between a “true” TRO and an appealable
         preliminary injunction is that a TRO may issue without notice
         and remains in effect for only 14 days (or longer if the district
         court finds “good cause” to extend it). Fed. R. Civ. P. 65(b).

             This TRO meets the criteria for treatment as a preliminary
         injunction. Most importantly, the Government had an
         opportunity to be heard: the district court held an adversary
         hearing, and the Government strongly challenged the court’s
         basis for issuing the order. The district court scheduled the
         order to remain in effect for 30 days instead of adhering to
         Rule 65(b)’s 14-day limit. Moreover, the Government argues
         in this court that emergency relief is necessary to support the
         national interests. In these circumstances, we may treat the
         district court’s order as an appealable preliminary injunction.
         See Washington v. Trump, 847 F.3d 1151, 1158 (9th Cir.
         2017).

         B. Standing and Zone of Interests

              The Government contends that the Organizations do not
         have Article III standing to sue and that their claims do not
         fall within the zone of interests protected by the INA. We
         have an obligation to ensure that jurisdiction exists before
         proceeding to the merits. See Steel Co. v. Citizens for a
         Better Env’t, 523 U.S. 83, 93–95 (1998). We likewise must
         determine whether a plaintiff’s claim falls within the statute’s
         zone of interests before we can consider the merits of the
         claim. See Lexmark Int’l, Inc. v. Static Control Components,
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         Inc., 572 U.S. 118, 129 (2014). We conclude that, at this
         preliminary stage of the proceedings, the Organizations have
         sufficiently alleged grounds for Article III standing and that
         their claims fall within the INA’s zone of interests.6

              1. Article III Standing

             Article III of the Constitution limits the federal judicial
         power to the adjudication of “Cases” and “Controversies.”
         U.S. CONST. art. III, § 2, cl. 1. This fundamental limitation
         “is founded in concern about the proper—and properly
         limited—role of the courts in a democratic society.”
         Summers v. Earth Island Inst., 555 U.S. 488, 492–93 (2009)
         (quoting Warth v. Seldin, 422 U.S. 490, 498 (1975)). “One of
         the essential elements of a legal case or controversy is that the
         plaintiff have standing to sue.” Hawaii, 138 S. Ct. at 2416.
         “[B]uilt on separation-of-powers principles,” standing ensures
         that litigants have “a personal stake in the outcome of the
         controversy as to justify the exercise of the court’s remedial
         powers on their behalf.” Town of Chester v. Laroe Estates,
         Inc., 137 S. Ct. 1645, 1650 (2017) (citations and internal
         alterations omitted).

             To demonstrate Article III standing, a plaintiff must show
         a “concrete and particularized” injury that is “fairly
         traceable” to the defendant’s conduct and “that is likely to be
         redressed by a favorable judicial decision.” Spokeo, Inc. v.


              6
                We have a continuing obligation to assure our jurisdiction. Ruhrgas
         AG v. Marathon Oil Co., 526 U.S. 574, 583–84 (1999); Fed. R. Civ. P.
         12(h)(3) (“Whenever it appears . . . that the court lacks jurisdiction of the
         subject matter, the court shall dismiss the action.”). Should facts develop
         in the district court that cast doubt on the Organizations’ standing, the
         district court is, of course, free to revisit this question.
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         Robins, 136 S. Ct. 1540, 1547–48 (2016) (quoting Lujan v.
         Defs. of Wildlife, 504 U.S. 555, 560 (1992)). “At least one
         plaintiff must have standing to seek each form of relief
         requested,” Town of Chester, 137 S. Ct. at 1651, and that
         party “bears the burden of establishing” the elements of
         standing “with the manner and degree of evidence required at
         the successive stages of the litigation,” Lujan, 504 U.S. at
         561. “At this very preliminary stage,” the Organizations
         “may rely on the allegations in their Complaint and whatever
         other evidence they submitted in support of their TRO motion
         to meet their burden.” Washington, 847 F.3d at 1159. And
         they “need only establish a risk or threat of injury to satisfy
         the actual injury requirement.” Harris v. Bd. of Supervisors,
         L.A. Cty., 366 F.3d 754, 762 (9th Cir. 2004); see Spokeo,
         136 S. Ct. at 1548 (noting that the injury must be “actual or
         imminent, not conjectural or hypothetical” (quoting Lujan,
         504 U.S. at 560)).

             The district court concluded that the Organizations have
         both third-party standing to sue on their clients’ behalf as
         well as organizational standing to sue based on their direct
         injuries.

                a. Third-Party Standing

             According to the district court, the Organizations “have
         third-party standing to assert the legal rights of their clients
         ‘who are seeking to enter the country to apply for asylum but
         are being blocked by the new asylum ban.’” We disagree.

             “Ordinarily, a party ‘must assert his own legal rights’ and
         ‘cannot rest his claim to relief on the legal rights of third
         parties.’” Sessions v. Morales–Santana, 137 S. Ct. 1678,
         1689 (2017) (quoting Warth, 422 U.S. at 499). There is an
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         exception to this rule if (1) “the party asserting the right has
         a close relationship with the person who possesses the right”
         and (2) “there is a hindrance to the possessor’s ability to
         protect his own interests.” Id. (quoting Kowalski v. Tesmer,
         543 U.S. 125, 130 (2004)). But as a predicate to either of
         those two inquiries, we must identify the “right” that the
         Organizations are purportedly asserting on their clients’
         behalf.

             The district court relied on evidence in the record
         indicating that “the government [is] preventing asylum-
         seekers from presenting themselves at ports of entry to begin
         the asylum process.” This harm, however, is not traceable to
         the challenged Rule, which has no effect on the ability of
         aliens to apply for asylum at ports of entry. Indeed, the Rule
         purports to encourage aliens to apply for asylum at ports of
         entry and addresses only the asylum eligibility of aliens who
         illegally enter the United States outside of designated ports of
         entry. See 83 Fed. Reg. at 55,941. The Organizations’
         clients, of course, would not have standing to assert a right to
         cross the border illegally, to seek asylum or otherwise. See
         Initiative & Referendum Inst. v. Walker, 450 F.3d 1082, 1093
         (10th Cir. 2006) (“[A] person complaining that government
         action will make his criminal activity more difficult lacks
         standing because his interest is not ‘legally protected.’”).
         And although the Organizations describe significant
         hindrances their clients have experienced in applying for
         asylum at ports of entry, as well as significant risks their
         clients may face in towns lining the country’s southern
         border, neither of those concerns is at issue in this lawsuit.
         Because the Organizations have not identified any cognizable
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         right that they are asserting on behalf of their clients, they do
         not have third-party standing to sue.7

                  b. Organizational Standing

              We agree, however, with the district court’s conclusion
         that the Organizations have organizational standing. First, the
         Organizations can demonstrate organizational standing by
         showing that the challenged “practices have perceptibly
         impaired [their] ability to provide the services [they were]
         formed to provide.” El Rescate Legal Servs., Inc. v. Exec.
         Office of Immigration Review, 959 F.2d 742, 748 (9th Cir.
         1991) (quoting Havens Realty Corp. v. Coleman, 455 U.S.
         363, 379 (1982)). This theory of standing has its roots in
         Havens Realty. There, a fair housing organization alleged
         that its mission was to “assist equal access to housing through
         counseling and other referral services.” Havens Realty,
         455 U.S. at 379. The organization claimed that the
         defendant’s discriminatory housing practices “frustrated” the
         organization’s ability to “provide counseling and referral
         services for low- and moderate-income homeseekers,” and
         that it forced the plaintiff “to devote significant resources to
         identify and counteract” the alleged discriminatory practices.
         Id. (citation omitted). The Supreme Court held that, based on
         this allegation, “there can be no question that the organization
         has suffered injury in fact” because it established a “concrete
         and demonstrable injury to the organization’s activities—with
         the consequent drain on the organization’s resources—[that]



             7
               Presumably because the Organizations filed this suit on the day the
         Rule became effective, the Organizations do not assert third-party standing
         on behalf of any client who entered the country after November 9. If they
         now have these clients, they may seek leave to amend on remand.
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         constitute[d] far more than simply a setback to the
         organization’s abstract social interests.” Id.

              We have thus held that, under Havens Realty, “a
         diversion-of-resources injury is sufficient to establish
         organizational standing” for purposes of Article III, Nat’l
         Council of La Raza v. Cegavske, 800 F.3d 1032, 1040 (9th
         Cir. 2015), if the organization shows that, independent of the
         litigation, the challenged “policy frustrates the organization’s
         goals and requires the organization ‘to expend resources in
         representing clients they otherwise would spend in other
         ways,’” Comite de Jornaleros de Redondo Beach v. City of
         Redondo Beach, 657 F.3d 936, 943 (9th Cir. 2011) (en banc)
         (quoting El Rescate Legal Servs., 959 F.2d at 748). In
         Comite de Jornaleros, for example, we concluded that
         advocacy groups had organizational standing to challenge an
         anti-solicitation ordinance that targeted day laborers based on
         the resources spent by the groups “in assisting day laborers
         during their arrests and meetings with workers about the
         status of the ordinance.” Id. In National Council of La Raza,
         we found that civil rights groups had organizational standing
         to challenge alleged voter registration violations where the
         groups had to “expend additional resources” to counteract
         those violations that “they would have spent on some other
         aspect of their organizational purpose.” 800 F.3d at 1039–40.
         And in El Rescate Legal Services, we found that legal
         services groups had organizational standing to challenge a
         policy of providing only partial interpretation of immigration
         court proceedings, noting that the policy “frustrate[d]” the
         group’s “efforts to obtain asylum and withholding of
         deportation in immigration court proceedings” and required
         them “to expend resources in representing clients they
         otherwise would spend in other ways.” 959 F.2d at 748; see
         also Valle del Sol Inc. v. Whiting, 732 F.3d 1006, 1018 (9th
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         Cir. 2013) (finding organizational standing where the
         plaintiffs “had to divert resources to educational programs to
         address its members’ and volunteers’ concerns about the
         [challenged] law’s effect”); Fair Hous. Council of San
         Fernando Valley v. Roommate.com, LLC, 666 F.3d 1216,
         1219 (9th Cir. 2012) (finding organizational standing where
         the plaintiff responded to allegations of discrimination by
         “start[ing] new education and outreach campaigns targeted at
         discriminatory roommate advertising”); 13A Charles Alan
         Wright et al., Federal Practice & Procedure § 3531.9.5 (3d
         ed. Sept. 2018) (collecting cases).

             Under Havens Realty and our cases applying it, the
         Organizations have met their burden to establish
         organizational standing. The Organizations’ declarations
         state that enforcement of the Rule has frustrated their mission
         of providing legal aid “to affirmative asylum applicants who
         have entered” the United States between ports of entry,
         because the Rule significantly discourages a large number of
         those individuals from seeking asylum given their
         ineligibility.      The Organizations have also offered
         uncontradicted evidence that enforcement of the Rule has
         required, and will continue to require, a diversion of
         resources, independent of expenses for this litigation, from
         their other initiatives. For example, an official from East Bay
         affirmed that the Rule will require East Bay to partially
         convert their affirmative asylum practice into a removal
         defense program, an overhaul that would require “developing
         new training materials” and “significant training of existing
         staff.” He also stated that East Bay would be forced at the
         client intake stage to “conduct detailed screenings for
         alternative forms of relief to facilitate referrals or other forms
         of assistance.” Moreover, several of the Organizations
         explained that because other forms of relief from
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         removal—such as withholding of removal and relief under
         the Convention Against Torture—do not allow a principal
         applicant to file a derivative application for family members,
         the Organizations will have to submit a greater number of
         applications for family-unit clients who would have otherwise
         been eligible for asylum. Increasing the resources required to
         pursue relief for family-unit clients will divert resources away
         from providing aid to other clients.                Finally, the
         Organizations have each undertaken, and will continue to
         undertake, education and outreach initiatives regarding the
         new rule, efforts that require the diversion of resources away
         from other efforts to provide legal services to their local
         immigrant communities.

              To be sure, as the district court noted, several of our
         colleagues have criticized certain applications of the Havens
         Realty organizational standing test as impermissibly diluting
         Article III’s standing requirement. See Fair Hous. Council,
         666 F.3d at 1225–26 (Ikuta, J., dissenting); People for the
         Ethical Treatment of Animals v. U.S. Dep’t of Agric.
         (“PETA”), 797 F.3d 1087, 1100–01 (D.C. Cir. 2015) (Millett,
         J., dubitante). Whatever the force of these criticisms, they are
         not directly applicable here, because they involve efforts by
         advocacy groups to show standing by pointing to the
         expenses of advocacy—the very mission of the group itself,
         see Fair Hous. Council, 666 F.3d at 1226 (Ikuta, J.,
         dissenting); or by identifying a defendant’s failure to take
         action against a third party, see PETA, 797 F.3d at 1101
         (Millett, J., dubitante). And in any event, we are not free to
         ignore “the holdings of our prior cases” or “their explications
         of the governing rules of law.” Miller v. Gammie, 335 F.3d
         889, 900 (9th Cir. 2003) (en banc) (citation omitted).
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             Second, the Organizations can demonstrate organizational
         standing by showing that the Rule will cause them to lose a
         substantial amount of funding. “For standing purposes, a loss
         of even a small amount of money is ordinarily an ‘injury.’”
         Czyzewski v. Jevic Holding Corp., 137 S. Ct. 973, 983 (2017).
         We have held that an organization that suffers a decreased
         “amount of business” and “lost revenues” due to a
         government policy “easily satisf[ies] the ‘injury in fact’
         standing requirement.” Constr. Indus. Ass’n of Sonoma Cty.
         v. City of Petaluma, 522 F.2d 897, 903 (9th Cir. 1975); cf.
         City & Cty. of S.F. v. Trump, 897 F.3d 1225, 1236 (9th Cir.
         2018) (holding that “a likely ‘loss of funds promised under
         federal law’” satisfies Article III’s standing requirement
         (quoting Organized Vill. of Kake v. U.S. Dep’t of Agric.,
         795 F.3d 956, 965 (9th Cir. 2015))).

              According to the Organizations’ declarations, a large
         portion of their funding from the California state government
         is tied to the number of asylum applications they pursue.
         Many of the applications filed by the Organizations are
         brought on behalf of applicants who, under the Rule, would
         be categorically ineligible for asylum. For example, East Bay
         has a robust affirmative asylum program in which they file
         their clients’ asylum applications with United States
         Citizenship and Immigration Services rather than in
         immigration court. See generally Dhakal v. Sessions,
         895 F.3d 532, 536–37 (7th Cir. 2018) (describing affirmative
         and defensive asylum processes). East Bay receives funding
         from the California Department of Social Services for each
         asylum case handled, and, historically, approximately 80% of
         East Bay’s affirmative asylum clients have entered the United
         States outside of designated ports of entry. If these
         individuals became categorically ineligible for asylum, East
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         Bay would lose a significant amount of business and suffer a
         concomitant loss of funding.

             Thus, based on the available evidence at this early stage
         of the proceedings, we conclude that the Organizations have
         shown that they have suffered and will suffer direct injuries
         traceable to the Rule and thus have standing to challenge its
         validity.8

              2. Zone of Interests

             We next consider whether the Organizations’ claims fall
         within the INA’s “zone of interests.” Bank of Am. Corp. v.
         City of Miami, 137 S. Ct. 1296, 1302 (2017). This is a
         “prudential” inquiry that asks “whether the statute grants the
         plaintiff the cause of action that he asserts.” Id. “[W]e
         presume that a statute ordinarily provides a cause of action
         ‘only to plaintiffs whose interests fall within the zone of
         interests protected by the law invoked.’” Id. (quoting
         Lexmark, 572 U.S. at 126). We determine “[w]hether a
         plaintiff comes within ‘the zone of interests’” using
         “traditional tools of statutory interpretation.” Id. at 1307
         (quoting Lexmark, 572 U.S. at 127).


              8
               Consequently, the Organizations also have Article III standing to
         challenge the procedure by which the Rule was adopted. Although a
         “deprivation of a procedural right without some concrete interest that is
         affected by the deprivation—a procedural right in vacuo—is insufficient
         to create Article III standing,” Summers, 555 U.S. at 496, a plaintiff does
         have standing to assert a violation of “a procedural requirement the
         disregard of which could impair a separate concrete interest,” Lujan,
         504 U.S. at 572. As explained above, the Organizations have adequately
         identified concrete interests impaired by the Rule and thus have standing
         to challenge the absence of notice-and-comment procedures in
         promulgating it.
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             The Organizations bring their claims under the APA.
         Because the APA provides a cause of action only to those
         “suffering legal wrong because of agency action, or adversely
         affected or aggrieved by agency action within the meaning of
         a relevant statute,” 5 U.S.C. § 702, the relevant zone of
         interests is not that of the APA itself, but rather “‘the zone of
         interests to be protected or regulated by the statute’ that [the
         plaintiff] says was violated.” Match-E-Be-Nash-She-Wish
         Band of Pottawatomi Indians v. Patchak, 567 U.S. 209, 224
         (2012) (quoting Assoc. of Data Processing Serv. Orgs., Inc.
         v. Camp, 397 U.S. 150, 153 (1970)). Here, the Organizations
         claim that the Rule “is flatly contrary to the INA.” Thus, we
         must determine whether the Organizations’ interests fall
         within the zone of interests protected by the INA.

             The Government argues that the INA’s asylum provisions
         do not “even arguably . . . protect[] the interests of nonprofit
         organizations that provide assistance to asylum seekers”
         because the provisions “neither regulate [the Organizations’]
         conduct nor create any benefits for which these organizations
         themselves might be eligible.” Although the Organizations
         are neither directly regulated nor benefitted by the INA, we
         nevertheless conclude that their interest in “provid[ing] the
         [asylum] services [they were] formed to provide” falls within
         the zone of interests protected by the INA. El Rescate Legal
         Servs., 959 F.2d at 748 (internal alterations omitted) (quoting
         Havens Realty, 455 U.S. at 379).

             The Supreme Court has emphasized that the zone of
         interests test, under the APA’s “generous review provisions,”
         “is not meant to be especially demanding; in particular, there
         need be no indication of congressional purpose to benefit the
         would-be plaintiff.” Clarke v. Sec. Indus. Ass’n, 479 U.S.
         388, 399–400 & n.16 (1987) (footnote omitted) (quoting Data
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         Processing, 397 U.S. at 156). In addition, the contested
         provision need not directly regulate the Organizations. Even
         in cases “where the plaintiff is not itself the subject of the
         contested regulatory action,” id. at 399, the zone of interests
         test “forecloses suit only when a plaintiff’s interests are so
         marginally related to or inconsistent with the purposes
         implicit in the statute that it cannot reasonably be assumed
         that Congress authorized the plaintiff to sue.” Lexmark,
         572 U.S. at 130 (quoting Match-E-Be-Nash-She-Wish,
         567 U.S. at 225) (internal quotation marks omitted). Thus, it
         is sufficient that the Organizations’ asserted interests are
         consistent with and more than marginally related to the
         purposes of the INA.9

             Here, the Organizations’ interest in aiding immigrants
         seeking asylum is consistent with the INA’s purpose to
         “establish[] . . . [the] statutory procedure for granting asylum
         to refugees.” Cardoza–Fonseca, 480 U.S. at 427. Moreover,
         we find the Organizations’ interests to be more than
         marginally related to the statute’s purpose. Within the
         asylum statute, Congress took steps to ensure that pro bono
         legal services of the type that the Organizations provide are
         available to asylum seekers.                   See 8 U.S.C.
         § 1158(d)(4)(A)–(B) (requiring the Attorney General to
         provide aliens applying for asylum with a list of pro bono
         attorneys and to advise them of the “privilege of being
         represented by counsel”). In addition, other provisions in the
         INA give institutions like the Organizations a role in helping
         immigrants navigate the immigration process. See, e.g., id.


              9
               “[W]e are not limited to considering the [specific] statute under
         which [plaintiffs] sued, but may consider any provision that helps us to
         understand Congress’ overall purposes in the [INA].” Clarke, 479 U.S.
         at 401 (discussing Data Processing, 397 U.S. at 840 n.6).
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         § 1101(i)(1) (requiring that potential T visa applicants be
         referred to nongovernmental organizations for legal advice);
         id. § 1184(p)(3)(A) (same for U visas); id. § 1228(a)(2),
         (b)(4)(B) (recognizing a right to counsel for aliens subject to
         expedited removal proceedings); id. § 1229(a)(1), (b)(2)
         (requiring that aliens subject to deportation proceedings be
         provided a list of pro bono attorneys and advised of their right
         to counsel); id. § 1443(h) (requiring the Attorney General to
         work with “relevant organizations” to “broadly distribute
         information concerning” the immigration process). These
         statutes, which directly rely on institutions like the
         Organizations to aid immigrants, are a sufficient “indicator
         that the plaintiff[s] [are] peculiarly suitable challenger[s] of
         administrative neglect . . . support[ing] an inference that
         Congress would have intended eligibility” to bring suit.
         Hazardous Waste Treatment Council v. EPA, 861 F.2d 277,
         283 (D.C. Cir. 1988).10 And in light of the “generous review
         provisions” of the APA, Clarke, 479 U.S. at 400 n.16, the
         Organizations’ claims “are, at the least, ‘arguably within the
         zone of interests’” protected by the INA, Bank of Am., 137 S.
         Ct. at 1303 (quoting Data Processing, 397 U.S. at 153).

            In addition, “a party within the zone of interests of any
         substantive authority generally will be within the zone of


             10
                 We reject the Government’s invitation to rely on INS v.
         Legalization Assistance Project of Los Angeles County, 510 U.S. 1301,
         1305 (1993) (O’Connor, J., in chambers). Not only is Justice O’Connor’s
         opinion non-binding and concededly “speculative,” id. at 1304, but the
         interest asserted by the organization in that case—conserving
         organizational resources to better serve nonimmigrants—is markedly
         different from the interest in aiding immigrants asserted here. Our opinion
         in Immigrant Assistance Project of Los Angeles Cty. v. INS, 306 F.3d 842,
         867 (9th Cir. 2002), also relied on by the Government, is not to the
         contrary because that case does not discuss the zone of interests test.
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         interests of any procedural requirement governing exercise of
         that authority.” Int’l Bhd. of Teamsters v. Pena, 17 F.3d
         1478, 1484 (D.C. Cir. 1994). This is particularly true for
         claims brought under the APA’s notice-and-comment
         provisions. See id.; see also Mendoza v. Perez, 754 F.3d
         1002, 1016 (D.C. Cir. 2014) (looking to the “zone of
         interests” of the underlying statute to determine ability to
         bring a notice-and-comment claim). As explained above, the
         Organizations are within the zone of interests protected by the
         INA and thus may challenge the absence of notice-and-
         comment procedures in addition to the Rule’s substantive
         validity.

                             III. STAY REQUEST

             We turn now to the Government’s request that we stay the
         TRO pending its appeal. “A stay is an ‘intrusion into the
         ordinary processes of administration and judicial review,’ and
         accordingly ‘is not a matter of right, even if irreparable injury
         might otherwise result to the appellant.’” Nken v. Holder,
         556 U.S. 418, 427 (2009) (citations omitted). “It is instead
         ‘an exercise of judicial discretion,’ and ‘the propriety of its
         issue is dependent upon the circumstances of the particular
         case.’” Id. at 433 (internal alteration omitted) (quoting
         Virginian Ry. Co. v. United States, 272 U.S. 658, 672–73
         (1926)). “The party requesting a stay bears the burden of
         showing that the circumstances justify an exercise of that
         discretion,” and our analysis is guided by four factors:

                 (1) whether the stay applicant has made a
                 strong showing that he is likely to succeed on
                 the merits; (2) whether the applicant will be
                 irreparably injured absent a stay; (3) whether
                 issuance of the stay will substantially injure
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                 the other parties interested in the proceeding;
                 and (4) where the public interest lies.

         Id. at 433–34 (quoting Hilton v. Braunskill, 481 U.S. 770, 776
         (1987)). “The first two factors . . . are the most critical,” and
         the “mere possibility” of success or irreparable injury is
         insufficient to satisfy them. Id. at 434 (internal quotation
         marks omitted). We consider the final two factors “[o]nce an
         applicant satisfies the first two.” Id. at 435.

         A. Likelihood of Success on the Merits

            The Government argues that it is likely to succeed on the
         merits of its appeal because the Rule (1) is consistent with the
         INA’s asylum provisions and (2) was properly promulgated.
         We respectfully disagree. Although the merits of the
         procedural issue may be uncertain at this stage of
         proceedings, the Government is not likely to succeed in its
         argument that the Rule is consistent with the INA. Because
         the Government must be likely to succeed in both its
         procedural and substantive arguments in order for us to
         conclude it has met this element of the four-part inquiry, we
         hold that it has not carried its burden.

             1. Substantive Validity of the Rule

             Under the APA, we must “hold unlawful and set aside
         agency action . . . found to be—arbitrary, capricious, an abuse
         of discretion, or otherwise not in accordance with law.”
         5 U.S.C. § 706(2)(A). The scope of our review, however, is
         limited to “agency action,” and the President is not an
         “agency.” See id. §§ 551(a), 701(b)(1). Accordingly, the
         President’s “actions are not subject to [APA] requirements.”
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         Franklin v. Massachusetts, 505 U.S. 788, 801 (1992).11 We
         thus do not have any authority under § 706 of the APA to
         review the Proclamation.

              However, we may review the substantive validity of the
         Rule together with the Proclamation. Our power to review
         “agency action” under § 706 “includes the whole or part of an
         agency rule, order, license, sanction, relief, or the equivalent
         . . . thereof.” 5 U.S.C. § 551(13). The Organizations have
         challenged the Rule as it incorporates the President’s
         Proclamation. The Rule does not itself provide the criteria
         for determining when aliens who have entered the United
         States from Mexico will be deemed ineligible for asylum
         because it is contingent on something else—the issuance of
         a presidential proclamation. By itself, the Rule does not
         affect the eligibility of any alien who wishes to apply for
         asylum. But the Rule and the Proclamation together create an
         operative rule of decision for asylum eligibility. It is the
         substantive rule of decision, not the Rule itself, that the
         Organizations have challenged under the APA, and insofar as
         DOJ and DHS have incorporated the Proclamation by
         reference into the Rule, we may consider the validity of the
         agency’s proposed action, including its “rule . . . or the
         equivalent.” Id.; see also Chamber of Commerce of the U.S.
         v. Reich, 74 F.3d 1322, 1326 (D.C. Cir. 1996) (explaining that
         agency regulations that implement an executive order are
         reviewable under the APA). This is consistent with the
         principle that a “‘final’ agency action” reviewable under the
         APA is one that “determines ‘rights or obligations from
         which legal consequences will flow’ and marks the


              11
                The President’s actions are subject to constitutional challenge.
         Franklin, 505 U.S. at 801. The Organizations have not brought a
         constitutional challenge to the Proclamation.
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         ‘consummation’ of the agency’s decisionmaking process.”
         Hyatt v. Office of Mgmt. & Budget, 908 F.3d 1165, 1172 (9th
         Cir. 2018) (internal alterations omitted) (quoting Bennett v.
         Spear, 520 U.S. 154, 177–78 (1997)).

             The district court concluded that the Organizations were
         likely to succeed on their claim that the Rule together with
         the Proclamation is inconsistent with 8 U.S.C. § 1158(a)(1).
         That section provides that “[a]ny alien who is physically
         present in the United States or who arrives in the United
         States (whether or not at a designated port of arrival . . .),
         irrespective of such alien’s status, may apply for asylum in
         accordance with this section.” Id. (emphasis added).
         Congress followed this section with three enumerated
         restrictions—three categories of aliens who are ineligible to
         apply for asylum: those who can safely be removed to a third
         country, those who fail to apply within one year of their
         arrival in the United States, and those who have previously
         been denied asylum. Id. § 1158(a)(2)(A)–(C). Congress then
         granted to the Attorney General the authority to add “other
         conditions or limitations on the consideration of an
         application for asylum,” as long as those conditions or
         limitations are “not inconsistent with this chapter.” Id.
         § 1158(d)(5)(B). If the Attorney General had adopted a rule
         that made aliens outside a “designated port of arrival”
         ineligible to apply for asylum, the rule would contradict
         § 1158(a)(1)’s provision that an alien may apply for asylum
         “whether or not [the alien arrives through] a designated port
         of arrival.” Such a rule would be, quite obviously, “not in
         accordance with law.” 5 U.S.C. § 706(2)(A); see Rodriguez
         v. Smith, 541 F.3d 1180, 1188 (9th Cir. 2008) (“[A]n
         agency’s authority to promulgate categorical rules is limited
         by clear congressional intent to the contrary.” (quoting
         Wedelstedt v. Wiley, 477 F.3d 1160, 1168 (10th Cir. 2007))).
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             Rather than restricting who may apply for asylum, the
         rule of decision facially conditions only who is eligible to
         receive asylum. The INA grants the Attorney General the
         power to set “additional limitations and conditions” beyond
         those listed in § 1158(b)(2)(A) on when an alien will be
         “ineligible for asylum,” but only when “consistent” with the
         section. 8 U.S.C. § 1158(b)(2)(C). Despite his facial
         invocation of § 1158(b)(2)(C), the Attorney General’s rule of
         decision is inconsistent with § 1158(a)(1). It is the hollowest
         of rights that an alien must be allowed to apply for asylum
         regardless of whether she arrived through a port of entry if
         another rule makes her categorically ineligible for asylum
         based on precisely that fact. Why would any alien who
         arrived outside of a port of entry apply for asylum? Although
         the Rule technically applies to the decision of whether or not
         to grant asylum, it is the equivalent of a bar to applying for
         asylum in contravention of a statute that forbids the Attorney
         General from laying such a bar on these grounds. The
         technical differences between applying for and eligibility for
         asylum are of no consequence to a refugee when the bottom
         line—no possibility of asylum—is the same.12

              12
                Although the INA distinguishes between criteria that disqualify an
         alien from applying for asylum and criteria that disqualify an alien from
         eligibility for (i.e., receiving) asylum, it is not clear that the difference
         between the two lists of criteria is significant. Compare 8 U.S.C.
         § 1158(a)(2)(A)–(C), with id. § 1158(b)(2)(A). For example, an alien
         cannot apply if she has previously applied for asylum and been denied.
         Id. § 1158(a)(2)(C). But the restriction can be enforced at any time in the
         process, even if that information came to light after the alien actually filed
         a second application. Similarly, an alien who was “firmly resettled” in
         another country prior to arriving in the United States is not eligible for
         asylum. Id. § 1158(a)(2)(A)(vi). Although that criterion does not
         disqualify a firmly resettled alien from applying, that alien might save
         herself the trouble of applying given her ineligibility and, indeed, she
         might well be advised by counsel not to apply.
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             As the district court observed, “[t]o say that one may
         apply for something that one has no right to receive is to
         render the right to apply a dead letter.” We agree. See
         United States v. Larionoff, 431 U.S. 864, 873 (1977) (“[I]n
         order to be valid [regulations] must be consistent with the
         statute under which they are promulgated.”); cf. Chevron,
         U.S.A., Inc. v. Nat. Res. Def. Council, Inc., 467 U.S. 837,
         842–43 (1984) (“[If] Congress has directly spoken to the
         precise question at issue . . . that is the end of the matter; for
         the court, as well as the agency, must give effect to the
         unambiguously expressed intent of Congress.”). We
         conclude that the Rule is not likely to be found “in
         accordance with law,” namely, the INA itself. 5 U.S.C.
         § 706(2)(A).13

             The Rule is likely arbitrary and capricious for a second
         reason: it conditions an alien’s eligibility for asylum on a
         criterion that has nothing to do with asylum itself. The Rule
         thus cannot be considered a reasonable effort to interpret or
         enforce the current provisions of the INA. See Chevron,
         467 U.S. at 843. In accordance with the Convention and
         Protocol, Congress required the Government to accept asylum
         applications from aliens, irrespective of whether or not they


             13
                The Government’s reliance on Lopez v. Davis, 531 U.S. 230 (2001),
         is misplaced. There, the Supreme Court found the Bureau of Prisons was
         permitted to add a regulation that categorically denied early release to a
         class of inmates. Id. at 238. But as we have explained, Lopez “pointedly
         discussed the absence from the statutory language of any criteria the
         [agency] could use in applying the statute,” and noted that Congress had
         not spoken to the precise issue. Rodriguez v. Smith, 541 F.3d 1180, 1188
         (9th Cir. 2008) (citing Lopez, 531 U.S. at 242). Here, § 1158 contains
         several criteria for asylum determinations, and Congress spoke to the
         precise issue when it stated that aliens may apply “whether or not” they
         arrived at a designated port of entry.
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         arrived lawfully through a port of entry. This provision
         reflects our understanding of our treaty obligation to not
         “impose penalties [on refugees] on account of their illegal
         entry or presence.” Convention, art. XXXI, § 1, 189 U.N.T.S.
         at 174. One reason for this provision is that, in most cases, an
         alien’s illegal entry or presence has nothing to do with
         whether the alien is a refugee from his homeland “unable or
         unwilling to avail himself or herself of the protection of, that
         country because of persecution or a well-founded fear of
         persecution on account of race, religion, nationality,
         membership in a particular social group, or political opinion.”
         8 U.S.C. § 1101(a)(42). For example, whether an alien enters
         the United States over its land border with Mexico rather than
         through a designated port of entry is uncorrelated with the
         question of whether she has been persecuted in, say, El
         Salvador.

             The BIA recognized some thirty years ago that although
         “an alien’s manner of entry or attempted entry is a proper and
         relevant discretionary factor to consider in adjudicating
         asylum applications, . . . it should not be considered in such
         a way that the practical effect is to deny relief in virtually all
         cases.” Matter of Pula, 19 I. & N. Dec. 467, 473 (BIA 1987)
         (emphasis added). Following the BIA’s lead, we have
         observed that “the way in which [the alien] entered this
         country is worth little if any weight in the balancing of
         positive and negative factors.” Mamouzian v. Ashcroft,
         390 F.3d 1129, 1138 (9th Cir. 2004). Indeed, we have
         considered that, in some cases, an alien entering the United
         States illegally is “wholly consistent with [a] claim to be
         fleeing persecution.” Akinmade v. INS, 196 F.3d 951, 955
         (9th Cir. 1999).
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              We are not alone in our view of the relevance of illegal
         entry to an alien’s eligibility for asylum. For example, the
         Second Circuit, again following the BIA’s lead, has held that
         “manner of entry cannot, as a matter of law, suffice as a basis
         for a discretionary denial of asylum in the absence of other
         adverse factors.” Huang v. INS, 436 F.3d 89, 99 (2d Cir.
         2006). In a similar vein, the Eleventh Circuit has observed
         that “there may be reasons, fully consistent with the claim of
         asylum, that will cause a person to possess false documents
         . . . to escape persecution by facilitating travel.” Nreka v.
         U.S. Attorney Gen., 408 F.3d 1361, 1368 (11th Cir. 2005)
         (quoting In Re O-D-, 21 I. & N. Dec. 1079, 1083 (BIA
         1998)); see Yongo v. INS, 355 F.3d 27, 33 (1st Cir. 2004)
         (same). This is not to say that the manner of entry is never
         relevant to an alien’s eligibility for asylum. At least under
         current law, it may be considered but only as one piece of the
         broader application. As the Sixth Circuit recently explained,
         “although the BIA may consider an alien’s failure to comply
         with established immigration procedures, it may not do so to
         the practical exclusion of all other factors.” Hussam F. v.
         Sessions, 897 F.3d 707, 718 (6th Cir. 2018); see also Zuh v.
         Mukasey, 547 F.3d 504, 511 n.4 (4th Cir. 2008) (immigration
         law violations should be considered in “a totality of the
         circumstances inquiry” and should not be given “too much
         weight”).

             We wish not to be misunderstood: we are not suggesting
         that an alien’s illegal entry or presence will always be
         independent of his claim to refugee status, nor are we saying
         that Congress could not adopt such a criterion into law. But
         the rule of decision enforced by the Government—that illegal
         entry, through Mexico specifically, will always be
         disqualifying—is inconsistent with the treaty obligations that
         the United States has assumed and that Congress has
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         enforced. As the Second Circuit observed, “if illegal manner
         of flight and entry were enough independently to support a
         denial of asylum, . . . virtually no persecuted refugee would
         obtain asylum.” Huang, 436 F.3d at 100. The Rule together
         with the Proclamation is arbitrary and capricious and
         therefore, likely to be set aside under 5 U.S.C. § 706(2)(A).

             The Government attempts to avoid the implications of its
         new rule of decision by pointing to the President’s authority
         to suspend aliens from entering the country, and to do so by
         proclamation. 8 U.S.C. § 1182(f); see Hawaii, 138 S. Ct. at
         2408. The rule of decision, however, is not an exercise of the
         President’s authority under § 1182(f) because it does not
         concern the suspension of entry or otherwise “impose on the
         entry of aliens . . . restrictions [the President] deem[s] to be
         appropriate.” 8 U.S.C. § 1182(f). To be sure, the rule of
         decision attempts to discourage illegal entry by penalizing
         aliens who cross the Mexican border outside a port of entry
         by denying them eligibility for asylum. But the rule of
         decision imposes the penalty on aliens already present within
         our borders.        By definition, asylum concerns those
         “physically present in the United States,” id. § 1158(a)(1),
         and “our immigration laws have long made a distinction
         between those aliens who have come to our shores seeking
         admission . . . and those who are within the United States
         after an entry, irrespective of its legality.” Leng May Ma v.
         Barber, 357 U.S. 185, 187 (1958); see Zadvydas v. Davis,
         533 U.S. 678, 693 (2001) (“The distinction between an alien
         who has effected an entry into the United States and one who
         has never entered runs throughout immigration law. . . .
         [O]nce an alien enters the country, the legal circumstance
         changes . . . whether [the alien’s] presence here is lawful,
         unlawful, temporary, or permanent.”).
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             The Government asserts that the TRO “constitutes a
         major and ‘unwarranted judicial interference in the conduct
         of foreign policy’” and “undermines the separation of powers
         by blocking the Executive Branch’s lawful use of its
         authority.” But if there is a separation-of-powers concern
         here, it is between the President and Congress, a boundary
         that we are sometimes called upon to enforce. See, e.g.,
         Zivotofsky ex rel. Zivotofsky v. Clinton, 566 U.S. 189 (2012);
         INS v. Chadha, 462 U.S. 919 (1983). Here, the Executive has
         attempted an end-run around Congress. The President’s
         Proclamation by itself is a precatory act.14 The entry it
         “suspends” has long been suspended: Congress criminalized
         crossing the Mexican border at any place other than a port of
         entry over 60 years ago. See Pub. L. No. 82-414, 66 Stat.
         163-229 (codified as amended at 8 U.S.C. § 1325). The
         Proclamation attempts to accomplish one thing.              In
         combination with the Rule, it does indirectly what the
         Executive cannot do directly: amend the INA. Just as we
         may not, as we are often reminded, “legislate from the
         bench,” neither may the Executive legislate from the Oval
         Office.




             14
                 The Government’s illusion appears on the very first page of its
         motion: “The President . . . determined that entry must be suspended
         temporarily for the many aliens who . . . violate our criminal law and . . .
         cross[ ] illegally into the United States.” Such entry, of course, is
         “suspended” permanently by statute. See 8 U.S.C. §§ 1182(a)(6)(A)(i),
         1325(a). When asked by the district court to explain what the
         Proclamation independently accomplishes, the Government simply posited
         that the Proclamation “points out that . . . this violation of law implicates
         the national interest in a particular way.” This description does not have
         any practical effect that we can discern.
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             This separation-of-powers principle hardly needs
         repeating. “The power of executing the laws . . . does not
         include a power to revise clear statutory terms that turn out
         not to work in practice,” and it is thus a “core administrative-
         law principle that an agency may not rewrite clear statutory
         terms to suit its own sense of how the statute should operate.”
         Util. Air Regulatory Grp. v. EPA, 134 S. Ct. 2427, 2446
         (2014). Where “Congress itself has significantly limited
         executive discretion by establishing a detailed scheme that
         the Executive must follow in [dealing with] aliens,” the
         Attorney General may not abandon that scheme because he
         thinks it is not working well—at least not in the way in which
         the Executive attempts to do here. Jama v. Immigration &
         Customs Enf’t, 543 U.S. 335, 368 (2005). There surely are
         enforcement measures that the President and the Attorney
         General can take to ameliorate the crisis, but continued
         inaction by Congress is not a sufficient basis under our
         Constitution for the Executive to rewrite our immigration
         laws.

             We are acutely aware of the crisis in the enforcement of
         our immigration laws. The burden of dealing with these
         issues has fallen disproportionately on the courts of our
         circuit. And as much as we might be tempted to revise the
         law as we think wise, revision of the laws is left with the
         branch that enacted the laws in the first place—Congress.

              2. Exemption from Notice-and-Comment Procedures

             The Organizations also argued, and the district court
         agreed, that the Rule was likely promulgated without
         following proper notice-and-comment procedures.           In
         general, the APA requires federal agencies to publish notice
         of proposed rules in the Federal Register and then allow
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         “interested persons an opportunity to participate in the rule
         making through submission of written data, views, or
         arguments with or without opportunity for oral presentation.”
         5 U.S.C. § 553(c). The “agency must consider and respond
         to significant comments received during the period for public
         comment.” Perez v. Mortg. Bankers Ass’n, 135 S. Ct. 1199,
         1203 (2015). Section 553(d) also provides that a promulgated
         final rule shall not go into effect for at least thirty days.
         5 U.S.C. § 553(d). These procedures are “designed to assure
         due deliberation” of agency regulations and “foster the
         fairness and deliberation that should underlie a
         pronouncement of such force.” United States v. Mead Corp.,
         533 U.S. 218, 230 (2001) (quoting Smiley v. Citibank (S.D.),
         N.A., 517 U.S. 735, 741 (1996)); see also Envtl. Integrity
         Project v. EPA, 425 F.3d 992, 996 (D.C. Cir. 2005) (noting
         that notice-and-comment procedures “give affected parties an
         opportunity to develop evidence in the record to support their
         objections to the rule and thereby enhance the quality of
         judicial review” (citation omitted)).

             The parties do not dispute that the Rule was promulgated
         without a thirty-day grace period or notice-and-comment
         procedures. The Government asserts, however, that the Rule
         was exempt under the APA’s foreign affairs and good cause
         exceptions. Under the foreign affairs exception, the APA’s
         notice-and-comment procedures do not apply “to the extent
         that there is involved—a . . . foreign affairs function of the
         United States.” 5 U.S.C. § 553(a)(1). And § 553(b)(B)
         provides an exception to the notice-and-comment
         requirements “when the agency for good cause finds . . . that
         notice and public procedure thereon are impracticable,
         unnecessary, or contrary to the public interest.” Id.
         § 553(b)(B). Section 553(d)(3) also provides an exception to
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         the APA’s 30-day grace period “for good cause found and
         published with the rule.” Id. § 553(d)(3).

             Foreign Affairs Exception. The Government raises two
         arguments in support of its claimed foreign affairs exception.
         First, it asserts that the Rule “necessarily implicate[s] our
         relations with Mexico and the President’s foreign policy,”
         and thus falls under the foreign affairs exception because it
         addresses immigration across the nation’s southern border.
         83 Fed. Reg. at 55,950. Although the Organizations do not
         dispute that the Government’s Rule implicates foreign affairs,
         they argue that the “general nexus between immigration and
         foreign affairs” is insufficient to trigger the APA’s foreign
         affairs exception.

             We agree that the foreign affairs exception requires the
         Government to do more than merely recite that the Rule
         “implicates” foreign affairs. The reference in the Rule that
         refers to our “southern border with Mexico” is not sufficient.
         As we have explained, “[t]he foreign affairs exception would
         become distended if applied to [an immigration enforcement
         agency’s] actions generally, even though immigration matters
         typically implicate foreign affairs.” Yassini v. Crosland,
         618 F.2d 1356, 1360 n.4 (9th Cir. 1980). Accordingly, we
         have held that the foreign affairs exception applies in the
         immigration context only when ordinary application of “the
         public rulemaking provisions [will] provoke definitely
         undesirable international consequences.” Id. Other circuits
         have required a similar showing, noting that “it would be
         problematic if incidental foreign affairs effects eliminated
         public participation in this entire area of administrative law.”
         City of N.Y. v. Permanent Mission of India to United Nations,
         618 F.3d 172, 202 (2d Cir. 2010); see Rajah v. Mukasey,
         544 F.3d 427, 437 (2d Cir. 2008).
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             Under this standard, courts have approved the
         Government’s use of the foreign affairs exception where the
         international consequence is obvious or the Government has
         explained the need for immediate implementation of a final
         rule. See, e.g., Rajah, 544 F.3d at 437 (rule responding to
         September 11, 2001 attacks); Yassini, 618 F.2d at 1361 (rule
         responding to Iranian hostage crisis); Malek–Marzban v. INS,
         653 F.2d 113, 116 (4th Cir. 1981) (rule responding to Iranian
         hostage crisis); see also Am. Ass’n of Exps. & Imps.–Textile
         & Apparel Grp. v. United States, 751 F.2d 1239, 1249 (Fed.
         Cir. 1985) (rule regarding stricter import restrictions that
         would provoke immediate response from foreign
         manufacturers). On the other hand, courts have disapproved
         the use of the foreign affairs exception where the Government
         has failed to offer evidence of consequences that would result
         from compliance with the APA’s procedural requirements.
         See, e.g., Zhang v. Slattery, 55 F.3d 732, 744–45 (2d Cir.
         1995) (rule regarding refugee status based on China’s “one
         child” policy); Jean v. Nelson, 711 F.2d 1455, 1477–78 (11th
         Cir. 1983) (rule regarding the detention of Haitian refugees),
         vacated in relevant part, 727 F.2d 957 (11th Cir. 1984) (en
         banc), aff’d, 472 U.S. 846 (1985).

             The Government contends that following the notice-and-
         comment procedures would result in undesirable international
         consequences. In particular, the Government claims that the
         Rule is “directly relate[d] to . . . ongoing negotiations with
         Mexico” and other Northern Triangle countries. The
         Government believes that the Rule will “facilitate the
         likelihood of success in future negotiations” and asserts that
         requiring normal notice-and-comment procedures in this
         situation would hinder the President’s ability to address the
         “large numbers of aliens . . . transiting through Mexico right
         now.”
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             The Government’s argument, in theory, has some merit.
         Hindering the President’s ability to implement a new policy
         in response to a current foreign affairs crisis is the type of
         “definitely undesirable international consequence” that
         warrants invocation of the foreign affairs exception. But the
         Government has not explained how immediate publication of
         the Rule, instead of announcement of a proposed rule
         followed by a thirty-day period of notice and comment, is
         necessary for negotiations with Mexico. We are sensitive to
         the fact that the President has access to information not
         available to the public, and that we must be cautious about
         demanding confidential information, even in camera. See
         Kerry v. Din, 135 S. Ct. 2128, 2141 (2015) (Kennedy, J.,
         concurring in the judgment); Chi. & S. Air Lines v. Waterman
         S.S. Corp., 333 U.S. 103, 111 (1948). Nevertheless, the
         connection between negotiations with Mexico and the
         immediate implementation of the Rule is not apparent on this
         record.

             The Government, of course, is free to expand the record
         on this issue in the district court. See Yassini, 618 F.2d at
         1361 (noting affidavits in support of the foreign affairs
         exception from the Attorney General and Deputy Secretary of
         State). But as it stands now, we conclude that the
         Government is not likely to succeed on its appeal of this issue
         at this preliminary juncture of the case.

             Good Cause Exceptions. The Government also argues
         that the Rule is exempt from both notice-and-comment
         procedures and the thirty-day grace period under the APA’s
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         “good cause” exceptions. 5 U.S.C. § 553(b)(B), (d)(3).15
         Because “[t]he good cause exception is essentially an
         emergency procedure,” United States v. Valverde, 628 F.3d
         1159, 1165 (9th Cir. 2010) (quoting Buschmann v. Schweiker,
         676 F.2d 352, 357 (9th Cir. 1982)), it is “narrowly construed
         and only reluctantly countenanced,” Jifry v. FAA, 370 F.3d
         1174, 1179 (D.C. Cir. 2004). As a result, successfully
         invoking the good cause exception requires the agency to
         “overcome a high bar” and show that “delay would do real
         harm” to life, property, or public safety. Valverde, 628 F.3d
         at 1164–65 (quoting Buschmann, 676 F.2d at 357); see also
         Sorenson Commc’ns Inc. v. FCC, 755 F.3d 702, 706 (D.C.
         Cir. 2014); Haw. Helicopter Operators Ass’n v. FAA, 51 F.3d
         212, 214 (9th Cir. 1995).

             The Government asserts that providing notice and
         comment would be “impracticable” and “contrary to the
         public interest” because it would “create[] an incentive for
         aliens to seek to cross the border” during the notice-and-
         comment period. 83 Fed. Reg. at 55,950. The Government
         explains that this “surge” in illegal border crossing would
         pose an imminent threat to human life because “[h]undreds
         die each year making the dangerous border crossing,” and
         because these border crossings “endanger[] . . . the U.S.
         Customs and Border Protection (“CBP”) agents who seek to
         apprehend them.” Id. at 55,935. The Government thus

             15
                As we explained previously, there are two good cause exceptions
         under the APA, one excuses compliance with notice-and-comment
         procedures, 5 U.S.C. § 553(b)(B), and the other allows an agency to forgo
         the thirty-day waiting period, id. § 553(d)(3). “[D]ifferent policies
         underlie the exceptions, and . . . they can be invoked for different
         reasons.” Riverbend Farms, Inc. v. Madigan, 958 F.2d 1479, 1485 (9th
         Cir. 1992). In this case, however, the Government has supplied the same
         rationale for both exceptions, and our reasoning applies to both.
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         concludes that “the very announcement of [the] proposed rule
         itself can be expected to precipitate activity by affected
         parties that would harm the public welfare.”

              We recognize that, theoretically, an announcement of a
         proposed rule “creates an incentive” for those affected to act
         “prior to a final administrative determination.” Am. Ass’n of
         Exps. & Imps., 751 F.2d at 1249. But in this case, the Rule,
         standing alone, does not change eligibility for asylum for any
         alien seeking to enter the United States; that change is not
         effected until the Rule is combined with a presidential
         proclamation.       Thus, we would need to accept the
         Government’s contention that the “very announcement” of
         the Rule itself would give aliens a reason to “surge” across
         the southern border in numbers greater than is currently the
         case. Absent additional evidence, this inference is too
         difficult to credit.16 Indeed, even the Government admits that
         it cannot “determine how . . . entry proclamations involving
         the southern border could affect the decision calculus for
         various categories of aliens planning to enter.” 83 Fed. Reg.
         at 55,948. Because the Government’s reasoning is only
         speculative at this juncture, we conclude that the district
         court’s holding is correct. Again, the Government is free to
         supplement the record and renew its arguments in the district
         court.

                                       *     *    *


              16
                 The Government claims that courts cannot “second-guess” the
         reason for invoking the good cause exception as long as the reason is
         “rational.” But an agency invoking the good cause exception must “make
         a sufficient showing that good cause exist[s].” Nat. Res. Def. Council,
         Inc. v. Evans, 316 F.3d 904, 912 (9th Cir. 2003); cf. Yassini, 618 F.2d at
         1361.
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             In sum, based on the evidence at this stage of the
         proceedings, we conclude that the Government has not
         established that it is likely to prevail on the merits of its
         appeal of the district court’s temporary restraining order.

         B. Irreparable Harm

             We next consider whether the Government has shown that
         it “will be irreparably injured absent a stay.” Nken, 556 U.S.
         at 434 (quoting Hilton, 481 U.S. at 776). The claimed
         irreparable injury must be likely to occur; “simply showing
         some ‘possibility of irreparable injury’” is insufficient. Id.
         (citation omitted). The Government has not shown that a stay
         of the district court’s TRO is necessary to avoid a likely
         irreparable injury in this case.

             First, the Government asserts that the district court’s order
         “undermines the separation of powers by blocking” an action
         of the executive branch. But “claims that [the Government]
         has suffered an institutional injury by erosion of the
         separation of powers” do not alone amount to an injury that
         is “irreparable,” because the Government may “pursue and
         vindicate its interests in the full course of this litigation.”
         Washington, 847 F.3d at 1168; see also Texas v. United
         States, 787 F.3d 733, 767–68 (5th Cir. 2015) (rejecting the
         Government’s reliance on “claims that the injunction offends
         separation of powers and federalism” to show irreparable
         injury because “it is the resolution of the case on the merits,
         not whether the injunction is stayed pending appeal, that will
         affect those principles”).

             Second, the Government asserts that the rule is needed to
         prevent aliens from “making a dangerous and illegal border
         crossing rather than presenting at a port of entry.” Although
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         the Government’s stated goal may be sound, the Government
         fails to explain how that goal will be irreparably thwarted
         without a stay of the TRO. The Rule has no direct bearing on
         the ability of an alien to cross the border outside of
         designated ports of entry: That conduct is already illegal.
         The Rule simply imposes severe downstream consequences
         for asylum applicants based on that criminal conduct as one
         of many means by which the Government may discourage it.
         The TRO does not prohibit the Government from combating
         illegal entry into the United States, and vague assertions that
         the Rule may “deter” this conduct are insufficient. Moreover,
         there is evidence in the record suggesting that the
         Government itself is undermining its own goal of channeling
         asylum-seekers to lawful entry by turning them away upon
         their arrival at our ports of entry.

         C. Balance of Hardships and Public Interest

             Because the Government has not “satisfie[d] the first two
         factors,” we need not dwell on the final two factors—“harm
         to the opposing party” and “the public interest.” Nken,
         556 U.S. at 435. We point out, however, a stay of the district
         court’s order would not preserve the status quo: it would
         upend it, as the TRO has temporarily restored the law to what
         it had been for many years prior to November 9, 2018. As
         explained above, the Organizations have adduced evidence
         indicating that, if a stay were issued, they would be forced to
         divert substantial resources to its implementation. Moreover,
         aspects of the public interest favor both sides. On the one
         hand, the public has a “weighty” interest “in efficient
         administration of the immigration laws at the border.”
         Landon v. Plascencia, 459 U.S. 21, 34 (1982). But the public
         also has an interest in ensuring that “statutes enacted by
         [their] representatives” are not imperiled by executive fiat.
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         Maryland v. King, 567 U.S. 1301, 1301 (2012) (Roberts, C.J.,
         in chambers). We need go no further than this; when
         considered alongside the Government’s failure to show
         irreparable harm, the final two factors do not weigh in favor
         of a stay.

                                IV. REMEDY

             The Government also challenges the universal scope of
         the temporary restraining order as impermissibly broad. But
         “the scope of [a] remedy is determined by the nature and
         extent of the . . . violation.” Milliken v. Bradley, 433 U.S.
         267, 270 (1977). “[T]he scope of injunctive relief is dictated
         by the extent of the violation established, not by the
         geographical extent of the plaintiff.” Califano v. Yamasaki,
         442 U.S. 682, 702 (1979). An injunction may extend “benefit
         or protection” to nonparties “if such breadth is necessary to
         give prevailing parties the relief to which they are entitled.”
         Bresgal v. Brock, 843 F.2d 1163, 1170 (9th Cir. 1987).
         However, a TRO “should be restricted to . . . preserving the
         status quo and preventing irreparable harm just so long as is
         necessary to hold a hearing and no longer.” Granny Goose
         Foods, Inc. v. Bd. of Teamsters & Auto Truck Drivers Local
         No. 70, 415 U.S. 423, 439 (1974). Equitable relief may “be
         no more burdensome to the defendant than necessary to
         provide complete relief to the plaintiffs.” Madsen v.
         Women’s Health Ctr., Inc., 512 U.S. 753, 765 (1994); see
         L.A. Haven Hospice, Inc. v. Sebelius, 638 F.3d 644, 664 (9th
         Cir. 2011).

             In immigration matters, we have consistently recognized
         the authority of district courts to enjoin unlawful policies on
         a universal basis. Regents of the Univ. of Cal. v. U.S. Dep’t
         of Homeland Sec., 908 F.3d 476, 511 (9th Cir. 2018) (“A
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         final principle is also relevant: the need for uniformity in
         immigration policy.”); Hawaii v. Trump, 878 F.3d 662, 701
         (9th Cir. 2017), rev’d on other grounds, 138 S. Ct. 2392
         (2018) (“Because this case implicates immigration policy, a
         nationwide injunction was necessary to give Plaintiffs a full
         expression of their rights.”); Washington, 847 F.3d at
         1166–67 (“[A] fragmented immigration policy would run
         afoul of the constitutional and statutory requirement for
         uniform immigration law and policy.” (citing Texas, 809 F.3d
         at 187–88)). “Such relief is commonplace in APA cases,
         promotes uniformity in immigration enforcement, and is
         necessary to provide the plaintiffs here with complete
         redress.” Univ. of Cal., 908 F.3d at 512.

             Although we recognize a growing uncertainty about the
         propriety of universal injunctions,17 the Government raises no
         grounds on which to distinguish this case from our
         uncontroverted line of precedent. Further, the Government
         “fail[ed] to explain how the district court could have crafted
         a narrower [remedy]” that would have provided complete
         relief to the Organizations. Id. We thus conclude that the
         district court did not err in temporarily restraining
         enforcement of the Rule universally.

                                V. CONCLUSION

             We stress, once again, that this case arrives at our
         doorstep at a very preliminary stage of the proceedings.
         Further development of the record as the case progresses may
         alter our conclusions. But at this time, the Government has


              17
               See Hawaii, 138 S. Ct. at 2424–29 (Thomas, J., concurring);
         Samuel Bray, Multiple Chancellors: Reforming the National Injunction,
         131 HARV. L. REV. 417, 424 (2017).
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         not satisfied the standard for a stay. The Government’s
         emergency motion for a stay pending appeal is therefore
         DENIED.



         LEAVY, Circuit Judge, dissenting in part:

            I respectfully dissent in part. I concur in the majority’s
         conclusion that we may treat the district court’s order as an
         appealable preliminary injunction. I also concur in the
         majority’s standing analysis.

             I dissent from the majority’s conclusion that the Rule was
         not exempt from the standard notice-and-comment
         procedures. The Attorney General articulated a need to act
         immediately in the interests of safety of both law enforcement
         and aliens, and the Rule involves actions of aliens at the
         southern border undermining particularized determinations of
         the President judged as required by the national interest,
         relations with Mexico, and the President’s foreign policy.

            I dissent from the denial of the motion to stay because the
         President, Attorney General, and Secretary of Homeland
         Security have adopted legal methods to cope with the current
         problems rampant at the southern border.

             The question whether the Rule is consistent with 8 U.S.C.
         § 1158 goes to the consideration of likelihood of success on
         the merits. The majority errs by treating the grant or denial
         of eligibility for asylum as equivalent to a bar to application
         for asylum, and conflating these two separate statutory
         directives.
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             An alien does not obtain the right to apply for asylum
         because he entered illegally. The reason “any alien” has the
         right to apply, according to the statute, is because he is
         physically present in the United States or has arrived in the
         United States. The parenthetical in 8 U.S.C. § 1158(a)(1)
         (“whether or not at a designated port of arrival”),which the
         majority chooses to italicize, does not expand upon who is
         eligible to apply beyond the words of the statute, “any alien.”

             The majority concludes that the Rule conditioning
         eligibility for asylum is the equivalent to a rule barring
         application for asylum. But the statute does not say that, nor
         does the Rule. I would stick to the words of the statute rather
         than discerning meaning beyond the words of the statute and
         Rule in order to find the action of the Attorney General and
         Secretary “not in accordance with the law.” 5 U.S.C.
         § 706(2)(A).

             Congress placed authorization to apply for asylum in one
         section of the statute, 8 U.S.C. § 1158(a)(1). Congress then
         placed the exceptions to the authorization to apply in another
         section, 8 U.S.C. § 1158(a)(2). Congress placed the
         eligibility for asylum in a different subsection, 8 U.S.C.
         § 1158(b)(1), and disqualifications for eligibility in 8 U.S.C,
         § 1158(b)(2)(A)(i)–(vi). The Attorney General or the
         Secretary of Homeland Security has no authority to grant
         asylum to the categories of aliens enumerated in
         § 1158(b)(2)(A). Congress has decided that the right to apply
         for asylum does not assure any alien that something other
         than a categorical denial of asylum is inevitable. Congress
         has instructed, by the structure and language of the statute,
         that there is nothing inconsistent in allowing an application
         for asylum and categorically denying any possibility of being
         granted asylum on that application. Thus, Congress has
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         instructed that felons and terrorists have a right to apply for
         asylum, notwithstanding a categorical denial of eligibility.

             Congress has provided in U.S.C. § 1158(b)(2)(C) that the
         Attorney General may by regulation “establish additional
         limitations and conditions, consistent with this section, under
         which an alien shall be ineligible for asylum.” Id. The
         majority is correct that an alien’s manner of entry can be a
         relevant discretionary factor in adjudicating asylum
         applications. Nothing in the structure or plain words of the
         statute, however, precludes a regulation categorically denying
         eligibility for asylum on the basis of manner of entry.

             On November 9, 2018, the Attorney General and the
         Department of Homeland Security published a joint interim
         final rule (“Rule”), 83 Fed. Reg. 55, 934, imposing
         prospective limitations on eligibility for asylum. The Rule
         does not restrict who may apply for asylum; rather, the Rule
         provides additional limitations on eligibility for asylum. The
         Rule states that an alien shall be ineligible for asylum if the
         alien enters the United States “contrary to the terms of a
         proclamation or order.” Id. at 55,952.

             The President, citing the executive authority vested in him
         by the Constitution and 8 U.S.C. §§ 1182(f), 1185(a), issued
         a Proclamation suspending and limiting the entry for 90 days
         of “any alien into the United States across the international
         boundary between the United States and Mexico.”
         Proclamation No. 9822, Addressing Mass Migration Through
         the Southern Border of the United States, 83 Fed. Reg. 57,661
         §§ 1, 2 (Nov. 9, 2018). The limitations do not apply to “any
         alien who enters the United States at a port of entry and
         properly presents for inspection, or to any lawful permanent
         resident of the United States.” Id. at 57,663 § 2(b). The
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         Proclamation is not challenged in this litigation. The
         Proclamation describes an ongoing mass migration of aliens
         crossing unlawfully through the southern border into the
         United States, contrary to the national interest, which has
         caused a crisis undermining the integrity of the border.

             The district court concluded that the Rule contravenes the
         “unambiguous” language of § 1158(a). If the language of
         § 1158(a) is unambiguous, then I fail to see why the district
         court found it necessary to discern Congressional intent by
         looking to Article 31 of the 1967 United Nations Protocol
         Relating to the Status of Refugees. Section 1158(a) provides
         unambiguously that any alien physically present in the United
         States may apply for asylum. The Rule does not restrict or
         remove any alien’s right to apply for asylum; rather, it
         imposes an additional, time-specific, area-specific limitation
         on an alien’s eligibility for a grant of asylum because of a
         proclamation. Nothing in the text of § 1158(a) prohibits the
         Attorney General from designating unauthorized entry as an
         eligibility bar to asylum when an alien’s manner of entry
         violates a Proclamation regarding the southern border, for a
         limited time, pursuant to the President’s judgment concerning
         an articulated national interest. The Proclamation and the
         Attorney General’s regulation seek to bring safety and
         fairness to the conditions at the southern border.

             The government has made a sufficient showing of
         irreparable harm, and the public has a significant interest in
         efficient border law administration. I conclude that the
         balance of harm to the plaintiffs does not weigh in their favor.
         Accordingly, I would grant the Government’s motion for a
         stay pending appeal.
